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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
                                                                : Chapter 11
In re:                                                          :
                                                                : Case No. 19-23489 (RDD)
MAXCOM USA TELECOM, INC., ET AL.                                :
                                                                : Jointly Administered
                                                                :
                  Debtors.1                                     :
--------------------------------------------------------------- X

                FINDINGS OF FACT, CONCLUSIONS OF LAW AND ORDER
               (I) APPROVING THE (A) ADEQUACY OF THE DISCLOSURE
                       STATEMENT, (B) SOLICITATION OF VOTES
               AND VOTING PROCEDURES AND (C) FORMS OF BALLOTS;
             AND (II) CONFIRMING JOINT PREPACKAGED CHAPTER 11 PLAN

        Maxcom USA Telecom, Inc. (“Maxcom USA”) and Maxcom Telecomunicaciones,

S.A.B. de C.V. (“Maxcom Parent,” and together with Maxcom USA, the “Debtors”), having:

        a.      distributed, on or about June 17, 2019 (i) the Joint Prepackaged Chapter 11 Plan
                [Docket No. 12] (as amended pursuant to the Amended Joint Prepackaged
                Chapter 11 Plan and as same may be further modified, amended, or supplemented
                from time to time, the “Plan”), (ii) Offering Memorandum and Consent
                Solicitation Statement [Docket No. 11] (together with the first and second
                supplements thereto, the “Disclosure Statement”), and (iii) ballots for voting on
                the Plan to holders of Claims2 entitled to vote on the Plan, namely holders of
                Class A Old Notes Claims in accordance with the terms of title 11 of the United
                States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure
                (the “Bankruptcy Rules”), the Amended Procedural Guidelines for Prepackaged
                Chapter 11 Cases in the United States Bankruptcy Court for the Southern District
                of New York, as amended, effective June 27, 2013 (as adopted by General Order
                M-387) (the “Guidelines”), and the Local Rules of Bankruptcy Practice and


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        The Debtors, together with the last four digits of each Debtor’s tax identification number, Maxcom USA
        Telecom, Inc. (7220) and Maxcom Telecomunicaciones, S.A.B. de C.V. (8KT0). The location of Debtor
        Maxcom Telecomunicaciones, S.A.B. de C.V.’s corporate headquarters and service address are: Guillermo
        González Camarena, 2000, Centro Ciudad, Santa Fé, Mexico, CDMX. The service address for Debtor
        Maxcom USA Telecom, Inc. is c/o United Corporate Services, Inc., Ten Bank Street, Suite 560, White
        Plains, NY 10606.
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        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan, the
        Disclosure Statement, or the Bankruptcy Code (as defined herein), as applicable. The rules of
        interpretation set forth in Article 1.2 of the Plan apply.
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               Procedure of the United States Bankruptcy Court for the Southern District of New
               York (the “Local Rules”);

      b.       posted, on June 17, 2019, the Plan, the Disclosure Statement, the Ballots and the
               other materials provided to holders of Old Notes in connection with the
               solicitation of votes on the Plan on the Prime Clerk LLC public website at
               http://cases.primeclerk.com/maxcom;

      c.       published, on June 17, 2019, and again on July 15, 2019 and July 30, 2019, press
               releases announcing the Company’s efforts to restructure the Old Notes through
               the solicitation of votes on the Plan and the extension of the voting deadline
               through and including August 14, 2019;

      d.       solicited votes on the Plan, beginning on or about June 17, 2019 through August
               14, 2019 at 5:00 p.m. (prevailing Eastern Time)

      e.       commenced, beginning on August 19, 2019 (the “Petition Date”), these
               Chapter 11 Cases by filing voluntary petitions for relief under chapter 11 of the
               Bankruptcy Code;

      f.       operated their business and managed their property during these Chapter 11 Cases
               as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
               Code;

      g.       filed, on August 19, 2019, the Plan and the Disclosure Statement;

      h.       filed, on August 19, 2019, the Debtors’ Motion for Entry of an Order
               (I) Scheduling Combined Hearing to Consider the Adequacy of the Disclosure
               Statement and Confirmation of the Plan; (II) Approving the Form and Manner of
               Notice of Combined Hearing; (III) Approving the Solicitation Procedures; (IV)
               Waiving Requirement for Meeting of Creditors of Equity Holders; and (V)
               Granting Related Relief [Docket No. 13] (the “Solicitation Procedures Motion”);

      i.       filed, on August 19, 2019, the Declaration of Erik Gonzalez Laureano in Support
               of First Day Motions and Applications [Docket No. 4] (the “First Day
               Declaration”), detailing, among other things, the facts and circumstances of the
               Chapter 11 Cases and the restructuring contemplated under the Plan;

      j.       filed and served, on August 21, 2019, the Notice of (I) Commencement of
               Prepackaged Chapter 11 Case, (II) Combined Hearing on (A) Disclosure
               Statement and (B) Confirmation of the Plan of Reorganization and Related
               Matters, and (III) Summary of Chapter 11 Plan [Docket No. 36] (the
               “Confirmation Hearing Notice”), consistent with the order granting the
               Solicitation Procedures Motion [Docket No. 31] (the “Solicitation Procedures
               Order”), which contained notice of the commencement of this Chapter 11 Case,
               the date and time initially set for the hearing to consider approval of the
               Disclosure Statement and Confirmation of the Plan (the “Confirmation Hearing”),


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               and the initial deadline for filing objections to the Plan and the Disclosure
               Statement;

      k.       filed, on August 19, 2019, the Declaration of Craig E. Johnson of Prime Clerk
               LLC Regarding the Solicitation of Votes and Tabulation of Ballots Cast on the
               Joint Prepackaged Chapter 11 Plan [Docket No. 3], which detailed the results of
               the Plan voting process (the “Johnson Tabulation Declaration”);

      l.       filed, on August 19, 2019, the Affidavit of Craig E. Johnson of Prime Clerk LLC
               Regarding Service of Solicitation Materials [Docket No. 19], which detailed the
               materials that were provided to all holders of Old Notes in connection with the
               solicitation of votes on the Plan (the “Johnson Solicitation Declaration”);

      m.       filed, on August 27, 2019, the Affidavit of Service with respect to the
               Confirmation Hearing Notice [Docket No. 35] (the “Confirmation Hearing Notice
               Affidavit”);

      n.       filed, on September 11, 2019, the Notice of Filing of Plan Supplement for the
               Debtors’ Prepackaged Plan of Reorganization [Docket No. 42] (all as modified,
               amended, or supplemented from time to time, the “Plan Supplement,” and which,
               for purposes of the Plan and this Confirmation Order, is included in the definition
               of “Plan”);

      o.       filed, on September 11, 2019, the Debtors’ (I) Memorandum of Law in Support of
               Entry of an Order (A) Approving the Adequacy of the Disclosure Statement and
               (B) Confirming the Amended Joint Prepackaged Plan of Reorganization and (II)
               Omnibus Reply to Objections Thereto [Docket No. 45] (the “Confirmation
               Brief”); and

      p.       filed, on September 11, 2019, the Declaration of Erik Gonzalez Laureano in
               Support of Confirmation of the Amended Joint Prepackaged Plan of
               Reorganization [Docket No. 46] (the “Gonzalez Confirmation Declaration”); the
               Declaration of Floris Iking of Alvarez & Marsal Mexico in Support of
               Confirmation of the Amended Joint Prepackaged Plan of Reorganization [Docket
               No. 43] (the “Iking Confirmation Declaration”); and the Declaration of Christina
               Pullo of Prime Clerk LLP Regarding Solicitation of Votes and Tabulation of
               Ballots Cast on the Joint Prepackaged Chapter 11 Plan [Docket No. 44] (the
               “Pullo Confirmation Declaration”).

      The Court having:

      a.       entered, on August 21, 2019, the Solicitation Procedures Order;

      b.       set September 17, 2019 at 2:00 p.m. (prevailing Eastern Time), as the date and
               time for the Confirmation Hearing, pursuant to Procedural Guidelines for
               Prepackaged Chapter 11 Cases of this Court, Bankruptcy Rules 3017 and 3018
               and sections 1126, 1128, and 1129 of the Bankruptcy Code, as set forth in the
               Solicitation Procedures Order;
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       c.      reviewed the Plan, the Disclosure Statement, the Plan Supplement, the
               Confirmation Brief, the First Day Declaration, the Gonzalez Confirmation
               Declaration, the Iking Confirmation Declaration; the Johnson Tabulation
               Declaration, the Johnson Solicitation Declaration, the Pullo Confirmation
               Declaration, the Confirmation Hearing Notice, and all filed pleadings, exhibits,
               statements, and comments regarding approval of the Disclosure Statement and
               confirmation of the Plan, including all objections, statements, and reservations of
               rights;

       d.      held the Confirmation Hearing;

       e.      heard the statements, representations, arguments and objections made by counsel
               in respect of approval of the Disclosure Statement and confirmation of the Plan;

       f.      considered all oral representations, testimony, documents, filings, and other
               evidence regarding approval of the Disclosure Statement and confirmation of the
               Plan; and

       g.      taken judicial notice of all pleadings and other documents filed, all orders entered,
               and all evidence and arguments presented in the Chapter 11 Cases.

       NOW, THEREFORE, the Court having found that notice of the Confirmation Hearing

and the opportunity for any party in interest to object to approval of the Disclosure Statement and

confirmation of the Plan have been adequate and appropriate as to all parties affected or to be

affected by the Plan and the transactions contemplated thereby, and the legal and factual bases

set forth in the documents filed in support of approval of the Disclosure Statement and

confirmation of the Plan and other evidence presented at the Confirmation Hearing and the

record of the Chapter 11 Cases establish just cause for the relief granted herein; and after due

deliberation thereon and good cause appearing therefor, the Court makes and issues the

following findings of fact and conclusions of law, and orders:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       IT IS DETERMINED, FOUND, ADJUDGED, DECREED, AND ORDERED THAT:




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       A.      Findings and Conclusions.

       1.      The findings and conclusions set forth herein and in the record of the

Confirmation Hearing constitute the Court’s findings of fact and conclusions of law under

Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy

Rules 7052 and 9014. To the extent any of the following conclusions of law constitute findings

of fact, or vice versa, they are adopted as such.

       B.      Jurisdiction, Venue, and Core Proceeding.

       2.      The Court has jurisdiction over these Chapter 11 Cases pursuant to 28 U.S.C.

§§157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the Southern District of New York, dated January 31, 2012. The Court has exclusive

jurisdiction to determine whether the Disclosure Statement and the Plan comply with the

applicable provisions of the Bankruptcy Code and should be approved and confirmed,

respectively. Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409 and

continues to be proper during these Chapter 11 Cases. Approval of the Disclosure Statement,

including associated solicitation procedures, and confirmation of the Plan are core proceedings

within the meaning of 28 U.S.C. § 157(b)(2) that, under the United States Constitution, the Court

may decide by final order.

       C.      Eligibility for Relief.

       3.      The Debtors were and are entities eligible for relief under section 109 of the

Bankruptcy Code.

       D.      Commencement of the Chapter 11 Cases.

       4.      Commencing on the Petition Date, the Debtors filed voluntary cases under

chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors have operated their

business and managed their property as debtors in possession pursuant to sections 1107(a) and

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1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11

Cases.

         E.    Objections.

         5.    Any resolutions of objections to confirmation of the Plan explained on the record

at the Confirmation Hearing are hereby incorporated by reference. All unresolved objections,

statements, informal objections, and reservations of rights, if any, related to the Plan, the

Disclosure Statement, or confirmation of the Plan are hereby overruled on the merits.

         F.    Burden of Proof—Confirmation of the Plan.

         6.    The Debtors, as proponents of the Plan, have met their burden of proving the

applicable elements of sections 1129(a) of the Bankruptcy Code by a preponderance of the

evidence, which is the applicable evidentiary standard for confirmation of the Plan.

         G.    Notice.

         7.    As evidenced by the Confirmation Hearing Notice, due, adequate, and sufficient

notice of the Disclosure Statement, the Plan, and the Confirmation Hearing, together with the

deadline to object to approval of the Disclosure Statement and confirmation of the Plan, has been

provided to all parties in interest in the Chapter 11 Cases. Such notice was adequate and

sufficient pursuant to section 1128 of the Bankruptcy Code, Bankruptcy Rules 2002 and 3020,

and other applicable law and rules, and no other or further notice is or shall be required.

         H.    Adequacy of Disclosure Statement.

         8.    The Disclosure Statement contains (a) sufficient information of a kind necessary

to satisfy the disclosure requirements of all applicable nonbankruptcy laws, rules, and

regulations, including the Securities Act, and (b) “adequate information” (as such term is defined

in section 1125(a) of the Bankruptcy Code and used in section 1126(b) of the Bankruptcy Code)



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with respect to the Debtors, the Plan, and the transactions contemplated therein. The filing of the

Disclosure Statement with the clerk of the Court satisfies Bankruptcy Rule 3016(b).

        I.     Ballots and Master Ballots.

        9.     Class A (Old Notes Claims) is the only Class of Claims entitled under the Plan to

vote to accept or reject the Plan (the “Voting Class”).

        10.    The forms of the Ballots and Master Ballots the Debtors used to solicit votes to

accept or reject the Plan from holders in the Voting Class adequately addressed the particular

needs of the Chapter 11 Cases and were appropriate for holders of Claims in the Voting Class to

vote to accept or reject the Plan.

        J.     Solicitation.

        11.    As described in the Johnson Tabulation Declaration, the Johnson Solicitation

Declaration and the Pullo Confirmation Declaration, the solicitation of votes on the Plan

complied with the solicitation procedures set forth in the Solicitation Procedures Motion and

approved in the Solicitation Procedures Orders (the “Solicitation Procedures”), was appropriate

and satisfactory based upon the circumstances of the Chapter 11 Cases, and was in compliance

with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the

Guidelines and any other applicable rules, laws, and regulations, including the registration

requirements under the Securities Act.

        12.    As described in the Johnson Solicitation Declaration, the Plan, the Disclosure

Statement, and the Ballot and Master Ballot (collectively, the “Solicitation Packages”) were

transmitted to all holders of Class A Old Notes Claims on or about June 17, 2019. Transmission

and service of the Solicitation Packages, were timely, adequate, and sufficient. No further notice

is required.



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       13.     As set forth in the Johnson Tabulation Declaration, the Johnson Solicitation

Declaration and Pullo Confirmation Declaration, the Solicitation Packages were distributed to

holders of Old Notes Claims in Class A who were the owners of Old Notes as of June 14, 2019

(the date specified in such documents for the purpose of the solicitation). The establishment and

notice of the Voting Record Date were reasonable and sufficient.

       14.     The period during which holders of Claims in the Voting Class had to submit

acceptances or rejections to the Plan (June 17, 2019 through August 14, 2019) was a reasonable

and sufficient period of time for such holders to make an informed decision to accept or reject

the Plan.

       15.     Under section 1126(f) of the Bankruptcy Code, the Debtors were not required to

solicit votes from the holders of Claims or Interests, as applicable, in the Unimpaired Classes

(defined below), each of which is conclusively presumed to have accepted the Plan.

       K.      Voting.

       16.     As evidenced by the Johnson Tabulation Declaration and Pullo Confirmation

Declaration, votes to accept or reject the Plan have been solicited and tabulated fairly, in good

faith, and in compliance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the

Solicitation Procedures Orders, the Disclosure Statement, the Guidelines and any applicable

nonbankruptcy law, rule, or regulation.

       L.      Plan Supplement.

       17.     The Plan Supplement complies with the Bankruptcy Code and the terms of the

Plan, and the filing and notice of such documents are good and proper in accordance with the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and no other or further notice is

required. All documents included in the Plan Supplement are integral to, part of, and

incorporated by reference into the Plan. Subject to the terms of the Plan, and only consistent

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therewith, the Debtors reserve the right to alter, amend, update, or modify the Plan Supplement

before the Effective Date, subject to compliance with the Bankruptcy Code and the Bankruptcy

Rules.

         M.    Modifications to the Plan.

         18.   Subsequent to solicitation on the Plan and transmission of the Solicitation

Packages, the Debtors made certain technical modifications to the Plan. All such modifications

are consistent with the Bankruptcy Code because such modifications to the Plan constitute

technical changes, or modifications that do not otherwise adversely affect or change the

treatment of any other Claim or Interest. Accordingly, pursuant to section 1127(a) of the

Bankruptcy Code, none of the modifications require additional disclosure under section 1125 of

the Bankruptcy Code or re-solicitation of votes under section 1126 of the Bankruptcy Code.

Prior notice regarding these modifications to the Plan, together with the filing with the

Bankruptcy Court of the Plan modifications, and the disclosure of the modifications on the

record at or prior to the Confirmation Hearing constitute due and sufficient notice of any and all

such modifications. Further, in accordance with section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019, all Holders of Claims or Interests who voted to accept the Plan or who

are conclusively presumed to have accepted the Plan are deemed to have accepted the Plan as

modified by the Plan modifications. No Holder of a Claim or Interest shall be permitted to

change its vote as a consequence of the Plan modifications unless otherwise agreed to by the

Holder of the Claim or Interest and the Debtors and such change is approved by the Court in

accordance with Bankruptcy Rule 3018(a). The modifications to the Plan are hereby approved

pursuant to section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019. The Plan as

modified shall constitute the Plan submitted for Confirmation.



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       N.       Compliance with Bankruptcy Code Requirements—Section 1129(a)(1).

       19.      The Plan complies with all applicable provisions of the Bankruptcy Code,

including sections 1122 and 1123, as required by section 1129(a)(1) of the Bankruptcy Code. In

addition, the Plan is dated and identifies the Entity submitting it, thereby satisfying Bankruptcy

Rule 3016(a).

                (i)     Proper Classification—Sections 1122 and 1123.

       20.      The Plan satisfies the requirements of sections 1122(a) and 1123(a)(1) of the

Bankruptcy Code. In addition to those claims in Article II of the Plan which need not be

classified, Article III of the Plan provides for the separate classification of Claims and Interests

into five Classes. Valid business, factual, and legal reasons exist for the separate classification of

such Classes of Claims and Interests. The classifications were not implemented for any

improper purpose and do not unfairly discriminate between, or among, holders of Claims or

Interests. Each Class of Claims and Interests contains only Claims or Interests that are

substantially similar to the other Claims or Interests within that Class.

                (ii)    Specified Unimpaired Classes—Section 1123(a)(2).

       21.      The Plan satisfies the requirements of section 1123(a)(2) of the Bankruptcy Code.

Article III of the Plan specifies that Claims in Classes B through E (the “Unimpaired Classes”)

are Unimpaired under the Plan. Additionally, Article II of the Plan specifies that Administrative

Claims, Professional Claims, Priority Tax Claims and Other Priority Claims will be paid in full

in accordance with the terms of the Plan, although these Claims are not separately classified

under the Plan.

                (iii)   Specified Treatment of Impaired Classes—Section 1123(a)(3).

       22.      The Plan satisfies the requirements of section 1123(a)(3) of the Bankruptcy Code.

Article III of the Plan specifies that Old Notes Claims in Class A (the “Impaired Class”) are

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Impaired under the Plan within the meaning of section 1124 of the Bankruptcy Code, and

describes the treatment of such Impaired Class.

               (iv)    No Discrimination—Section 1123(a)(4).

       23.     The Plan satisfies the requirements of section 1123(a)(4) of the Bankruptcy Code.

The Plan provides for the same treatment by the Debtors for each Claim or Interest in each

respective Class unless the holder of a particular Claim or Interest has agreed to a less favorable

treatment of such Claim or Interest.

               (v)     Adequate Means for Plan Implementation—Section 1123(a)(5).

       24.     The Plan satisfies the requirements of section 1123(a)(5) of the Bankruptcy Code.

The provisions in Article IV and elsewhere in the Plan, and in the exhibits and attachments to the

Plan and the Disclosure Statement provide, in detail, adequate and proper means for the Plan’s

implementation, including regarding: (a) the settlement and discharge of Claims and the

Reinstatement of Interests; (b) the issuance of the Senior Notes and Junior PIK Notes; (c)

payment of the Cash Payment, and, to the extent applicable, the payment of the Early

Participation Consideration; (d) the vesting of estate assets in the Reorganized Debtors; (e)

authorizing the Debtors to take all actions necessary to effectuate the Plan; (f) the continued

appointment of the directors of the Reorganized Debtors; (g) the cancellation of the Old Notes,

Old Notes Indenture and Old Notes Guarantees; and (h) except as provided for in the Plan, the

cancellation and discharge of Liens, Subsidiary Guarantee, Intercompany Trust Agreement,

Intercompany Subordination Agreement and any other note, instrument, certificate, share,

purchase right, option, warrant, and any other document evidencing claims on account of the Old

Notes. Moreover, the Reorganized Debtors will have sufficient Cash to make all payments

required upon the Effective Date pursuant to the terms of the Plan.



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               (vi)      Voting Power of Equity Securities—Section 1123(a)(6).

       25.     The Plan satisfies the requirements of section 1123(a)(6) of the Bankruptcy Code.

All Interests are Unimpaired and being Reinstated under the Plan, thereby satisfying section

1123(a)(6) of the Bankruptcy Code.

               (vii)     Directors and Officers—Section 1123(a)(7).

       26.     The Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

The Plan Supplement and Section 4.12 of the Plan contain provisions regarding the manner of

selection of the Reorganized Debtors’ directors and officers that are consistent with the interest

of all holders of Claims and Interests and applicable non-bankruptcy corporate law.

               (viii) Section 1123(b)—Discretionary Contents of the Plan.

       27.     The Plan’s discretionary provisions comply with section 1123(b) of the

Bankruptcy Code and are not inconsistent with the applicable provisions of the Bankruptcy

Code, thereby satisfying section 1123(b) of the Bankruptcy Code. The failure to specifically

address a provision of the Bankruptcy Code in this Confirmation Order shall not diminish or

impair the effectiveness of this Confirmation Order.

                      a. Impairment / Unimpairment of Classes—Section 1123(b)(1).

       28.     The Plan is consistent with section 1123(b)(1) of the Bankruptcy Code.

Article III of the Plan leaves each Class of Claims and Interests Impaired or Unimpaired.

                      b. Settlement, Releases, Exculpation, Injunction, and Cancellation of
                         Liens—Section 1123(b)(3).

       29.     Pursuant to Bankruptcy Rule 9019 and section 1123(b)(3) of the Bankruptcy

Code, and in consideration for the classification, distribution and other benefits provided under

the Plan, the provisions of the Plan shall constitute a good faith compromise and settlement of all

Claims and controversies resolved pursuant to the Plan, including all Claims, Causes of Action


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and controversies arising prior to the Effective Date, whether known or unknown, foreseen or

unforeseen, asserted or unasserted, by or against any Released Party, or holders of Claims,

arising out of, relating to or in connection with the business or affairs of or transactions with the

Debtors.

       30.     The entry of this Confirmation Order shall constitute the Bankruptcy Court’s

approval of each of the foregoing compromises or settlements, and all other compromises and

settlements provided for in the Plan, and the Bankruptcy Court’s findings shall constitute its

determination that such compromises and settlements are in the best interests of the Debtors, the

Estates, creditors and other parties in interest, and are fair, equitable and within the range of

reasonableness. The provisions of the Plan, including its release, injunction, exculpation and

compromise provisions, are mutually dependent and non-severable.

                   c. Modification of Rights— Section 1123(b)(5).

       31.       The Plan is consistent with 1123(b)(5) of the Bankruptcy Code. Article III of

the Plan modifies or leaves unaffected, as the case may be, the rights of certain Holders of

Claims or Interests.

                   d. Additional Plan Provisions—Section 1123(b)(6).

       32.     The other discretionary provisions of the Plan are appropriate and consistent with

the applicable provisions of the Bankruptcy Code, thereby satisfying section 1123(b)(6) of the

Bankruptcy Code.

       O.      Compliance with the Bankruptcy Code—Section 1129(a)(2).

       33.     The Debtors have complied with the applicable provisions of the Bankruptcy

Code and, thus, have satisfied the requirements of section 1129(a)(2) of the Bankruptcy Code.

Specifically, the Debtors:



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               a. are each an eligible debtor under section 109, and a proper proponent of the
                  Plan under section 1121(a), of the Bankruptcy Code; and

               b. have complied with the applicable provisions of the Bankruptcy Code,
                  including sections 1125 and 1126, the Bankruptcy Rules, the Local Rules, the
                  Guidelines, any applicable nonbankruptcy law, rule and regulation, the
                  Solicitation Procedures Orders, and all other applicable law, in transmitting
                  the Solicitation Packages, and related documents and notices, and in soliciting
                  and tabulating the votes on the Plan.

       P.      Plan Proposed in Good Faith—Section 1129(a)(3).

       34.     The Plan satisfies the requirements of section 1129(a)(3) of the Bankruptcy Code.

The Debtors proposed the Plan in good faith and not by any means forbidden by law. In so

determining, the Court has examined the totality of the circumstances surrounding the filing of

the Chapter 11 Cases, the Plan itself, and the process leading to Confirmation of the Plan,

including the support of holders of Claims and Interests for the Plan, and the transactions to be

implemented pursuant thereto. The Chapter 11 Cases were filed, and the Plan was proposed,

with the legitimate purpose of allowing the Debtors to restructure the Old Notes in a manner so

as to maximize the recovery by holders of the Old Notes.

       35.     The Debtors and each of the constituents who negotiated the Plan, including each

of their respective officers, directors, managers, members, employees, advisors and professionals

(a) acted in good faith in negotiating, formulating, and proposing, where applicable, the Plan and

the agreements, compromises, settlements, transactions, transfers, and documentation

contemplated by the Plan and (b) will be acting in good faith in proceeding to (i) consummate

the Plan and the agreements, compromises, settlements, transactions, transfers, and

documentation contemplated by the Plan, and (ii) take any actions authorized and directed or

contemplated by this Confirmation Order.




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       Q.      Payment for Services or Costs and Expenses—Section 1129(a)(4).

       36.     Any payment made or to be made by the Debtors under the Plan for services or

for costs and expenses in connection with the Chapter 11 Cases, or in connection with the Plan

and incident to the Chapter 11 Cases, has been approved by, or is subject to the approval of, the

Court as reasonable, thereby satisfying section 1129(a)(4) of the Bankruptcy Code.

       R.      Directors, Officers, and Insiders—Section 1129(a)(5).

       37.     The Debtors have satisfied the requirements of section 1129(a)(5) of the

Bankruptcy Code. Pursuant to Section 4.12 of the Plan, the Debtors disclosed in the Plan

Supplement in advance of the Confirmation Hearing the identity and affiliations of the new

directors of the Reorganized Debtors. To the extent any such director or officer is an “insider”

under the Bankruptcy Code, the nature of any compensation to be paid to such director or officer

will also be disclosed. Each such director and officer shall serve from and after the Effective

Date pursuant to the terms of the organizational documents and other constituent documents

applicable to the Reorganized Debtors. The proposed directors of the Reorganized Debtors are

qualified, and their appointment to, or continuance in, such roles is consistent with the interests

of holders of Claims and with public policy.

       S.      No Rate Changes—Section 1129(a)(6).

       38.     Section 1129(a)(6) of the Bankruptcy Code is not applicable to the Chapter 11

Cases. The Plan proposes no rate change subject to the jurisdiction of any governmental

regulatory commission.

       T.      Best Interest of Creditors—Section 1129(a)(7).

       39.     The Plan satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code.

The liquidation analysis attached to the Plan Supplement and the other evidence related thereto

in support of the Plan that were proffered or adduced in the Iking Confirmation Declaration or at,

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prior to, or in connection with the Confirmation Hearing: (a) are reasonable, persuasive,

credible, and accurate as of the dates such analysis or evidence was prepared, presented, or

proffered; (b) utilize reasonable and appropriate methodologies and assumptions; (c) have not

been controverted by other evidence; and (d) establish that holders of Old Notes Claims will

recover at least as much under the Plan, as of the Effective Date, as such holder would receive if

the Debtors were liquidated under chapter 7 of the Bankruptcy Code on such date.

       U.      Acceptance by Certain Classes—Section 1129(a)(8).

       40.     Classes B through E are each Classes of Unimpaired Claims or Interests under the

Plan and are deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy

Code. The holders in the Voting Class, Class A, are Impaired by the Plan and have voted to

accept the Plan in accordance with sections 1126(b) and (c) of the Bankruptcy Code.

       V.      Treatment of Claims Entitled to Priority under Section 507(a) of the
               Bankruptcy Code—Section 1129(a)(9).

       41.     The treatment of Administrative Claims, Professional Claims, Priority Tax Claims

and Other Priority Claims, under Article II of the Plan, satisfies the requirements of, and

complies in all respects with, section 1129(a)(9) of the Bankruptcy Code.

       W.      Acceptance by at Least One Impaired Class—Section 1129(a)(10).

       42.     The Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy

Code. As evidenced by the Johnson Tabulation Declaration and Pullo Confirmation Declaration,

Class A voted to accept the Plan by the requisite numbers and amounts of Claims, determined

without including any acceptance of the Plan by any insider (as that term is defined in

section 101(31) of the Bankruptcy Code).




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        X.     Feasibility—Section 1129(a)(11).

        43.    The Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy

Code. The financial projections attached to the Plan Supplement and the other evidence

supporting confirmation of the Plan proffered or adduced by the Debtors at, or prior to, or in a

declaration filed in connection with, the Confirmation Hearing: (a) are reasonable, persuasive,

credible, and accurate as of the dates such analysis or evidence was prepared, presented or

proffered; (b) utilize reasonable and appropriate methodologies and assumptions; (c) have not

been controverted by other evidence; (d) establish that the Plan is feasible; and (e) establish that

the Reorganized Debtors will have sufficient funds available to meet their obligations under the

Plan. Therefore, the Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy

Code.

        Y.     Payment of Fees—Section 1129(a)(12).

        44.    The Plan satisfies the requirements of section 1129(a)(12) of the Bankruptcy

Code. Section 2.5 of the Plan provides for the payment of all fees due and payable by the

Debtors under 28 U.S.C. § 1930.

        Z.     Non-Applicability of Certain Sections—Sections 1129(a)(13), (14), (15), and
               (16).

        45.    Sections 1129(a)(13), 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the

Bankruptcy Code do not apply to the Chapter 11 Cases. The Debtors do not provide retiree

benefits (as that term is defined in section 1114 of the Bankruptcy Code), do not owe domestic

support obligations, are not an individual, and are not a nonprofit corporation.




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         AA.   No Unfair Discrimination; Fair and Equitable Treatment—Section 1129(b).

         46.   All of the applicable requirements of section 1129(a), including section

1129(a)(8), have been satisfied. Therefore, section 1129(b) of the Bankruptcy Code does not

apply.

         BB.   Only One Plan—Section 1129(c).

         47.   The Plan satisfies the requirements of section 1129(c) of the Bankruptcy Code.

The Plan is the only chapter 11 plan filed in the Chapter 11 Cases.

         CC.   Principal Purpose of the Plan—Section 1129(d).

         48.   The Plan satisfies the requirements of section 1129(d) of the Bankruptcy Code.

The principal purpose of the Plan is not the avoidance of taxes or the avoidance of the

application of section 5 of the Securities Act.

         DD.   Good Faith Solicitation—Section 1125(e).

         49.   The Debtors (and their respective directors, officers, members, shareholders,

employees, attorneys, investment bankers, financial advisors and agents) have acted in “good

faith” within the meaning of section 1125(e) of the Bankruptcy Code and in compliance with the

applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with all of

their respective activities relating to support and consummation of the Plan, including the

execution, delivery, and performance of the solicitation and receipt of acceptances of the Plan,

and are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

         EE.   Satisfaction of Confirmation Requirements.

         50.   Based on the foregoing, the Plan satisfies the requirements for Confirmation set

forth in section 1129 of the Bankruptcy Code.




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       FF.     Likelihood of Satisfaction of Conditions Precedent to the Effective Date.

       51.     Each of the conditions precedent to the Effective Date, as set forth in Section 9.1

of the Plan, has been or is reasonably likely to be satisfied or, as applicable, waived in

accordance with Section 9.2 of the Plan.

       GG.     Implementation.

       52.     All documents necessary to implement the Plan, including those contained in the

Plan Supplement and all other relevant and necessary documents, have been negotiated in good

faith and at arm’s length and shall, upon completion of documentation and execution, be valid,

binding, and enforceable agreements and shall not be in conflict with any applicable law.

       HH.     Disclosure of Facts.

       53.     The Debtors have disclosed all material facts regarding the Plan and the

transactions contemplated therein, including with respect to the Senior Notes and the Junior PIK

Notes. The Debtors also disclosed steps they intend to take in the near future to consolidate and

streamline their organization.

       II.     Good Faith.

       54.     The Debtors, the Released Parties, and the Releasing Parties have been and will

be acting in good faith if they proceed to: (a) consummate the Plan and the agreements,

settlements, transactions, and transfers contemplated thereby; and (b) take the actions authorized

and directed by this Confirmation Order.

       JJ.     Releases, Injunction and Exculpation.

       55.     The release, injunction, discharge and exculpation provisions contained in Article

VIII of the Plan (collectively, the “Releases”) constitute good-faith compromises and settlements

of the matters covered thereby. Such Releases are given in exchange for and are supported by

fair, sufficient and adequate consideration as well as the substantial contribution provided by

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each and all of the Released Parties and the Exculpated Parties and (i) are in the best interests of

the Debtors, their Estate and Holders of Claims and Interests, (ii) are fair, equitable and

reasonable, in that, as pertains the third-party releases in Section 8.4 of the Plan, are consensual

in that they are limited to all Holders of an Old Notes Claim who voted to accept the Plan; and

(iii) are integral elements of the restructuring and resolution of the Chapter 11 Cases in

accordance with the Plan. The failure to approve the Releases would seriously impair the

Debtors’ ability to confirm the Plan.

       56.     Each of the Releases set forth in the Plan: (a) is within the jurisdiction of the

Court under 28 U.S.C. §§ 1334(a), (b) and (d); (b) is an essential means of implementing the

Plan pursuant to section 1123(a)(5) of the Bankruptcy Code; (c) is an integral and non-severable

elements of the settlements and transactions incorporated into the Plan; (d) confers a material

benefit on, and is in the best interests of, the Debtors, their Estates, and the Holders of Old Notes

Claims; (e) is important to the overall objectives of the Plan to finally resolve all Old Notes

Claims; and (f) is consistent with sections 105, 1123, 1129, and other applicable provisions of

the Bankruptcy Code.

       KK.     Retention of Jurisdiction.

       57.     The Court may properly retain jurisdiction over the matters set forth in Section

11.1 of the Plan and/or section 1142 of the Bankruptcy Code.

                                              ORDER

       IT IS ORDERED, ADJUDGED, DECREED, AND DETERMINED THAT:

       58.     Findings of Fact and Conclusions of Law. The above-referenced findings of

fact and conclusions of law are hereby incorporated by reference as though fully set forth herein

and constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made


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applicable herein by Bankruptcy Rule 9014. To the extent that any finding of fact is determined

to be a conclusion of law, it is deemed so, and vice versa.

       59.     Disclosure Statement. The Disclosure Statement: (a) complies in all respects

with any disclosure requirements of any applicable nonbankruptcy law, rule or regulation,

including the Securities Act; (b) contains “adequate information” (as such term is defined in

section 1125(a)(1) and used in section 1126(b)(2) of the Bankruptcy Code) with respect to the

Debtors, the Plan and the transactions contemplated therein and complies with any additional

requirements of the Bankruptcy Code and the Bankruptcy Rules; and (c) is approved in all

respects.

       60.     Ballots. The Ballots and Master Ballots are in compliance with Bankruptcy Rule

3018(c), conform to Official Form B14 and are approved in all respects.

       61.     Solicitation. The Solicitation Procedures, including the length and manner of

solicitation of votes and the tabulation process, complied with sections 1125 and 1126 of the

Bankruptcy Code, Bankruptcy Rules 3017 and 3018, the Scheduling Order, all other provisions

of the Bankruptcy Code, the Local Rules, the Guidelines and all other applicable rules, laws, and

regulations, and were appropriate and satisfactory and are approved in all respects.

       62.     Notice of the Confirmation Hearing. Notice of the Confirmation Hearing

complied with the terms of the Scheduling Order, was appropriate and satisfactory under the

circumstances of the Chapter 11 Cases and is approved in all respects.

       63.     Confirmation of the Plan. The Plan, attached hereto as Exhibit A, including

each of the documents that comprise the Plan Supplement, is approved in its entirety and

CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




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Plan Supplement and amendments thereto, are incorporated by reference into and are an integral

part of this Confirmation Order.

       64.     Objections. All objections and all reservations of rights pertaining to

Confirmation of the Plan or approval of the Disclosure Statement that have not been withdrawn,

waived, or settled are overruled in their entirety on the merits.

       65.     No Action Required. Under the provisions of applicable law and

section 1142(b) of the Bankruptcy Code, no action of the respective directors, equity holders,

managers, or members of the Debtors is required to authorize the Debtors to enter into, execute,

deliver, file, adopt, amend, restate, consummate, or effectuate, as the case may be, the Plan and

any contract, assignment, certificate, instrument, or other document to be executed, delivered,

adopted, or amended in connection with the implementation of the Plan, including the issuance

of the Senior Notes and Junior PIK Notes.

       66.     Binding Effect. Upon the occurrence of the Effective Date, the terms of the Plan

are immediately effective and enforceable and deemed binding on the Debtors, the Reorganized

Debtors, any and all holders of Claims or Interests (regardless of whether such holders of Claims

or Interests have, or are deemed to have, accepted the Plan), the Trustee, the banks at which the

Debtors maintain any Bank Accounts listed on Exhibit B hereto, all Entities that are parties to or

are subject to the settlements, compromises, releases, discharges, and injunctions described in the

Plan, and each Entity acquiring property under the Plan.

       67.     Continued Existence. Each Debtor shall continue to exist on and after the

Effective Date as a corporate entity, with all of the rights and powers applicable to such entity

under applicable law and its organizational documents. After the Effective Date, the




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Reorganized Debtors may amend and restate their certificates or articles of incorporation, by-

laws, or similar governing documents, as applicable, as permitted by applicable law.

       68.     Vesting of Assets in the Reorganized Debtors. Pursuant to section 1141(b) of

the Bankruptcy Code, all property of the Estate, including all claims, rights, and causes of action

and any property owned by the Debtors as of or after the Petition Date (including, for the

avoidance of doubt, all amounts on deposit in the Debtors’ Bank Accounts listed on Exhibit B

hereto, which for the avoidance of doubt shall include all funds on deposit at CI Banco, account

number ending in last 4 digits 9344), together with any property of the Debtors that is not

property of the Estate and that is not specifically disposed of pursuant to the Plan, shall revest in

the respective Reorganized Debtor on the Effective Date free and clear of all Claims, Liens,

charges, other encumbrances and Interests, except as specifically provided in the Plan or this

Confirmation Order. Thereafter, the Reorganized Debtors may operate their business and may

use, acquire, and dispose of all such property free of any restrictions of the Bankruptcy Code and

the Bankruptcy Rules, including without limitation, to make any distributions required under the

Plan. As of the Effective Date, all property of the Reorganized Debtors shall be free and clear of

all Claims, Liens, charges, other encumbrances and Interests, except as specifically provided in

the Plan or this Confirmation Order.

       69.     Cancellation of Liens; Discharge from Senior Secured Notes, Instruments,

Certificates, and Other Documents. Except as otherwise provided in the Plan, on the Effective

Date, in consideration for the distributions to be made on the Effective Date pursuant to the Plan,

(1) the Old Notes, the Old Notes Indenture, the Old Notes Guarantees, the Subsidiary Guarantee,

the Intercompany Trust Agreement, the Intercompany Subordination Agreement, the other

Collateral Documents and any other certificate, share, note, bond, indenture, purchase right,



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option, warrant, or other instrument or document, directly or indirectly, evidencing or creating

any indebtedness or obligation of or ownership interest in the Debtors giving rise to any Claim or

Interest (except such certificates, notes, or other instruments or documents evidencing

indebtedness or obligations of or ownership interest in the Debtors that are specifically

Reinstated or otherwise not Impaired under the Plan) shall be deemed cancelled, discharged,

released and extinguished, and neither the Debtors nor the Non-Debtor Guarantors shall have any

continuing obligations thereunder; and (2) the obligations of the Debtors pursuant, relating, or

pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or

articles of incorporation or similar documents governing the shares, certificates, notes, bonds,

purchase rights, options, warrants, or other instruments or documents evidencing or creating any

indebtedness or obligation of or ownership interest in the Debtors (except such agreements,

certificates, notes, or other instruments evidencing indebtedness or obligations of or ownership

interests in the Debtors that are specifically Reinstated or otherwise not Impaired under the Plan)

shall be released and discharged; provided, however, notwithstanding Confirmation or the

occurrence of the Effective Date, any such indenture or agreement that governs the rights of the

Holder of a Claim shall continue in effect solely for purposes of enabling Holders of Allowed

Claims to receive distributions under the Plan as provided herein; provided further, however, that

the preceding proviso shall not affect the discharge of Claims or Interests pursuant to the

Bankruptcy Code, the Confirmation Order, or the Plan or result in any expense or liability to the

Reorganized Debtors, except to the extent set forth in or provided for under this Plan.

Notwithstanding the foregoing and solely for the purpose set forth in this sentence, the following

rights of the Trustee shall remain in effect after the Effective Date: (1) rights to payment of fees,

expenses and indemnification obligations, including from property distributed hereunder to the



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Trustee, whether pursuant to the exercise of a charging lien or otherwise, (2) rights relating to

distributions made to Holders of Allowed Old Notes Claims by the Trustee from any source,

including distributions hereunder, (3) rights relating to representation of the interests of the

Holders of Old Notes Claims by the Trustee in the Chapter 11 Cases to the extent not discharged

or released hereunder or any order of the Bankruptcy Court, and (4) rights relating to

participation by the Trustee in any proceedings related to the Plan. On and after the Effective

Date, all duties and responsibilities of the Trustee shall be discharged unless otherwise

specifically set forth in or provided for under the Plan.

       70.     Discharge. Except as otherwise provided for in the Plan and effective as of the

Effective Date: (a) the rights afforded in the Plan and the treatment of all Claims and Interests

shall be in exchange for and in complete satisfaction, discharge, and release of all Claims and

Interests of any nature whatsoever, including any interest accrued on such Claims from and after

the Petition Date, against the Debtors or any of their assets, property or Estate; (b) the Plan shall

bind all Holders of Old Notes Claims, notwithstanding whether any such Holders failed to vote

to accept or reject the Plan or voted to reject the Plan; (c) all Old Notes Claims shall be satisfied,

discharged, and released in full, and the Debtors’ liability with respect thereto shall be

extinguished completely, including any liability of the kind specified under section 502(g) of the

Bankruptcy Code; and (d) all Entities shall be precluded from asserting against the Debtors, the

Debtors’ Estates, the Reorganized Debtors and the Non-Debtor Guarantors (and each of their

assets and properties) any claim, demand or cause of action in respect of the Old Notes Claims

based upon any documents, instruments, or any act or omission, transaction, or other activity of

any kind or nature that occurred prior to the Effective Date.




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       71.     Exemption from Registration Requirements. The issuance of the Senior Notes

and Junior PIK Notes shall be exempt from registration under section 1145 of the Bankruptcy

Code and, to the extent applicable, under applicable securities laws. All documents, agreements

and instruments entered into and delivered on or as of the Effective Date contemplated by or in

furtherance of this Plan shall become effective and binding in accordance with their respective

terms and conditions upon the parties thereto, in each case without further notice to or order of

the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,

consent, authorization, or approval of any Entity (other than as expressly required by such

applicable agreement). The Senior Notes and Junior PIK Notes shall be tradeable by the

recipients thereof, subject to the restrictions, if any, imposed on the transferability of such

securities under applicable law.

       72.     The Senior Notes and Junior PIK Notes. Subject to, and upon the occurrence

of, the Effective Date, the Reorganized Debtors are authorized to issue, execute, deliver or

otherwise bring into effect, as the case may be, to or for the benefit of the holders of Old Notes

Claims, the Senior Notes and Junior PIK Notes and any other instruments, certificates, and other

documents or agreements required to be issued, executed or delivered in connection with the

authorization and issuance of the Senior Notes and Junior PIK Notes, in each case without need

for further notice to or order of the Bankruptcy Court.

       73.     The Cash Payment and Early Participation Consideration. Subject to, and

upon the occurrence of, the Effective Date, the Reorganized Debtors are authorized to pay the

Cash Payment and Early Participation Consideration in accordance with the terms and conditions

of Section 3.2 of the Plan, including without limitation, that only Holders of Old Notes on the

June 14, 2019 Record Date who tendered all of their Old Notes on or before the Early



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Participation Date shall be entitled to receive the Early Participation Consideration. The Debtors

are hereby authorized to use any and all funds maintained on deposit in the Debtors’ Bank

Accounts listed on Exhibit B hereto, which for the avoidance of doubt shall include all funds on

deposit at CI Banco, account number ending in last 4 digits 9344, for the purpose of paying all

obligations under the Plan, including the payment of the Cash Payment and the Early

Participation Consideration.

       74.     Distributions on Account of Old Notes Claims. All distributions on account of

Allowed Old Notes Claims under the Plan shall be made in accordance with the terms and

conditions set forth in the Plan, including Section 6.4 of the Plan. Any Holder of Old Notes who

fails to comply with the conditions set forth in Section 6.4 of the Plan needed to receive the

Senior Notes and Junior PIK Notes within one hundred and eighty (180) days after the Effective

Date shall have its Claim on account of the Old Notes and its distribution pursuant to the Plan on

account of such Old Notes Claim discharged and forfeited and shall not participate in any

distribution under the Plan. All property in respect of such forfeited Old Notes Claims, including

without limitation, such holder’s pro rata share of Senior Notes and Junior PIK Notes, shall

revert to the Reorganized Debtors.

       75.     Treatment of Executory Contracts and Unexpired Leases. Except as

otherwise provided for in the Confirmation Order, entry of the Confirmation Order shall

constitute a Court order approving the assumption or assumption and assignment, as applicable,

of all of the Debtors’ Executory Contracts and Unexpired Leases. To the maximum extent

permitted by law, to the extent any provision in any Executory Contract or Unexpired Lease

assumed pursuant to the Plan restricts or prevents, purports to restrict or prevent, or is breached

or deemed breached by, the assumption of such Executory Contract or Unexpired Lease



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(including any “change in control” provision), such provision shall be deemed modified such that

the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to

terminate such Executory Contract or Unexpired Lease or to exercise any other default-related

rights with respect thereto. None of the Restructuring Transactions taken by the Debtors of the

Reorganized Debtors, as applicable, to effectuate the Plan shall be deemed to trigger any “change

of control” provision in any contract or agreement including any Executory Contract or

Unexpired Lease.

       76.     Additional Transactions Authorized under the Plan. On or after the Effective

Date, the Reorganized Debtors shall be authorized to take any such actions as may be necessary

or appropriate to Reinstate Claims or Interests or render Claims or Interests not Impaired, as

provided for under the Plan.

       77.     Comprehensive Settlement of Claims and Controversies. Pursuant to

Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided

under the Plan, the provisions of the Plan will constitute a good-faith compromise and settlement

of all Claims or controversies relating to the rights that a holder of a Claim or Interest may have

with respect to any Allowed Claim or Allowed Interest or any distribution to be made pursuant to

the Plan on account of any Allowed Claim or Allowed Interest. The entry of this Confirmation

Order constitutes the Court’s approval, as of the Effective Date, of the compromise or settlement

of all such claims or controversies and the Court’s finding that all such compromises or

settlements are in the best interests (i) of the Debtors, the Reorganized Debtors, the Estates and

(ii) Claim and Interest holders, and are fair, equitable, and reasonable.

       78.     Survival of Indemnification and Exculpation Obligations. The obligations of

the Debtors to indemnify and exculpate any past and present directors, officers, agents,



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employees and representatives who provided services to the Debtors prior to or after the Petition

Date, pursuant to certificates or articles of incorporation, by-laws, contracts, and/or applicable

statutes, in respect of all actions, suits, and proceedings against any of such officers, directors,

agents, employees, and representatives, based upon any act or omission related to service with,

for or on behalf of the Debtors, shall not be discharged or Impaired by Confirmation or

consummation of the Plan and shall be assumed by the Reorganized Debtors. For the avoidance

of doubt, this paragraph and the Plan affect only the obligations of the Debtors and Reorganized

Debtors with respect to any indemnity or exculpation owed to or for the benefit of past and

present directors, officers, agents, employees, and representatives of the Debtors, and shall have

no effect on nor in any way discharge or reduce, in whole or in part, any obligation of any other

Person, including any provider of director and officer insurance, owed to or for the benefit of

such past and present directors, officers, agents, employees, and representatives of the Debtors.

        79.    Authorization to Consummate. The Debtors are authorized to consummate the

Plan at any time after the entry of this Confirmation Order subject to satisfaction or waiver (by

the required parties) of the conditions precedent to Consummation set forth in Article IX of the

Plan.

        80.    Final Fee Applications. All requests for payment of Professional Claims for

services rendered and reimbursement of expenses incurred prior to the Effective Date must be

filed no later than 45 days after the Effective Date. The Court shall determine the Allowed

amounts of such Professional Claims after notice and a hearing in accordance with the

procedures established by the Bankruptcy Code. The Reorganized Debtors shall pay

Professional Claims in Cash in the amount that the Court allows. From and after the

Confirmation Date, any requirement that Professionals comply with sections 327 through 331



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and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered

after such date shall terminate, and the Reorganized Debtors may employ and pay any

Professional in the ordinary course of business without any further notice to or action, order, or

approval of the Court.

       81.     Administrative Claims. Unless otherwise agreed to by the Holder of an Allowed

Administrative Claim and the Debtors or Reorganized Debtors, as applicable, each Holder of an

Allowed Administrative Claim (other than Holders of Professional Claims and Claims for fees

and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will

receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the

amount of such Allowed Administrative Claim either: (a) on the Effective Date, or as soon as

reasonably practicable thereafter; (b) if the Administrative Claim is not Allowed as of the

Effective Date, no later than 30 days after the date on which an order allowing such

Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; or

(c) if the Allowed Administrative Claim is based on liabilities incurred by the Debtors in the

ordinary course of its business after the Petition Date in accordance with the terms and

conditions of the particular transaction giving rise to such Allowed Administrative Claim without

any further action by the Holders of such Allowed Administrative Claims.

       82.     Costs and Expenses of the Trustee. On or as soon as practicable after the

Effective Date, the Reorganized Debtors shall pay the costs and expenses incurred by the Trustee

(including the reasonable and documented fees and expenses of counsel to the Trustee) invoiced

and unpaid through the Effective Date.

       83.     Release, Exculpation, and Injunction Provisions. The release, exculpation,

injunction, and related provisions set forth in Sections 8.3, 8.4, 8.5 and 8.6 of the Plan are



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approved and authorized in their entirety, and such provisions are effective and binding on all

Persons and Entities to the extent provided in the Plan.

       84.     Payment of Statutory Fees. On the Effective Date, the Debtors shall pay, in full

in Cash, any fees due and owing to the U.S. Trustee at the time of Confirmation. On and after

the Effective Date, the Reorganized Debtors shall pay the applicable U.S. Trustee fees pursuant

to 28 U.S.C. § 1930(a) and any applicable interest thereof pursuant to 31 U.S.C. § 3717 until the

Chapter 11 Cases are converted, dismissed, or a Final Decree is issued, whichever occurs first.

       85.     Compliance with Tax Requirements. In connection with the Plan and all

distributions thereunder, the Reorganized Debtors shall comply with all withholding and

reporting requirements imposed by any federal, state, local or foreign taxing authority, and all

distributions hereunder shall be subject to any such withholding and reporting requirements. The

Reorganized Debtors shall be authorized to take any and all actions that may be necessary or

appropriate to comply with such withholding and reporting requirements, including liquidating a

portion of the distribution to be made under the Plan to generate sufficient funds to pay

applicable withholding taxes or establishing such other mechanisms that the Reorganized

Debtors believe are reasonable and appropriate. The Debtors or the Reorganized Debtors, as

applicable, reserve the right to allocate and distribute all distributions made under the Plan in

compliance with all applicable wage garnishments, alimony, child support and other spousal

awards, Liens and similar encumbrances.

       86.     Exemption from Transfer Taxes. Pursuant to section 1146(a) of the Bankruptcy

Code, any transfers of property under the Plan, including without limitation, the discharge of the

Old Notes and the issuance of the Senior Notes and Junior PIK Notes, shall not be subject to any

document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,



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stamp act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing, or

recording fee or other similar tax or governmental assessment in the United States. This

Confirmation Order shall direct the appropriate federal, state, or local governmental officials or

agents to forgo the collection of any such tax or governmental assessment and to accept for filing

and recordation any of the foregoing instruments or other documents without the payment of any

such tax or governmental assessment.

       87.     Insurance Policies and Agreements. Insurance policies issued to, or insurance

agreements entered into by, the Debtors prior to the Petition Date (including, without limitation,

any policies covering directors’ or officers’ conduct) shall continue in effect after the Effective

Date. To the extent that such insurance policies or agreements are considered to be Executory

Contracts or Unexpired Leases, the Plan shall constitute a motion to assume or ratify such

insurance policies and agreements, and, subject to the occurrence of the Effective Date, the entry

of this Confirmation Order shall constitute approval of such assumption pursuant to

section 365(a) of the Bankruptcy Code and a finding by the Bankruptcy Court that each such

assumption is in the best interest of the Debtors and their Estates. Unless otherwise determined

by the Bankruptcy Court pursuant to a Final Order or agreed to by the parties thereto prior to the

Effective Date, no payments shall be required to cure any defaults of the Debtors existing as of

the Confirmation Date with respect to each such insurance policy.

       88.     Documents, Mortgages, and Instruments. Each federal, state, commonwealth,

local, foreign, or other governmental agency is authorized to accept any and all documents,

mortgages, and instruments necessary or appropriate to effectuate, implement, or consummate

the Plan and this Confirmation Order.




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       89.     Continued Effect of Stays and Injunction. All injunctions or stays provided for

in the Chapter 11 Cases under section 105 or section 362 of the Bankruptcy Code, or otherwise,

and in existence on the Confirmation Date, shall remain in full force and effect until the

Effective Date.

       90.     Nonseverability of Plan Provisions upon Confirmation. Each provision of the

Plan is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be

deleted or modified without the consent of the Debtors and except as provided in paragraph 91

below; and (c) non-severable and mutually dependent.

       91.     Amendment or Modification of the Plan. Without the need for further order or

authorization of the Court, the Debtors and Reorganized Debtors, as applicable, are authorized

and empowered to make any and all modifications to any and all documents that are necessary to

effectuate the Plan that do not materially modify the terms of such documents and are otherwise

consistent with the Plan. Subject to section 1127 of the Bankruptcy Code, the Debtors may alter,

amend or modify the Plan or any exhibits thereto at any time prior to or after the Confirmation

Date but prior to the substantial consummation of the Plan. Any holder of a Claim that has

accepted the Plan shall be deemed to have accepted the Plan, as altered, amended or modified, if

the proposed alteration, amendment, or modification does not materially and adversely change

the treatment of the Claim of such Holder. Entry of the Confirmation Order means that all

modifications or amendments to the Plan since the solicitation thereof and made herein are

approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional

disclosure or resolicitation under Bankruptcy Rule 3019.

       92.     Governing Law. Subject to the provisions of any contract, certificates or articles

of incorporation, by-laws, instruments, releases, or other agreements or documents entered into



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in connection with the Plan, the rights and obligations arising under the Plan shall be governed

by, and construed and enforced in accordance with the laws of the State of New York, without

giving effect to the principles of conflicts of law.

       93.     Applicable Nonbankruptcy Law. The provisions of this Confirmation Order,

the Plan and related documents, or any amendments or modifications thereto, shall apply and be

enforceable notwithstanding any otherwise applicable nonbankruptcy law.

       94.     Waiver of Filings. Any requirement under section 521 of the Bankruptcy Code

or Bankruptcy Rule 1007 obligating the Debtors to file any list, schedule, or statement with the

Court or the Office of the U.S. Trustee is permanently waived as to any such list, schedule, or

statement not filed as of the Confirmation Date.

       95.     Governmental Approvals Not Required. Except as otherwise stated in the

Plan, this Confirmation Order shall constitute all approvals and consents required, if any, by the

laws, rules, or regulations of any state, federal, or other governmental authority with respect to

the dissemination, implementation, or consummation of the Plan and the Disclosure Statement,

any certifications, documents, instruments or agreements, and any amendments or modifications

thereto, and any other acts referred to in, or contemplated by, the Plan and the Disclosure

Statement.

       96.     Notice of Effective Date. On or before the tenth (10th) day following the

occurrence of the Effective Date, the Debtors shall file and serve notice of the occurrence of the

Effective Date pursuant to Bankruptcy Rules 2002 and 3020. The notice described herein is

adequate and appropriate under the particular circumstances of these Chapter 11 Cases, and no

other or further notice is necessary.




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       97.     Effect of Non-Consummation. If the Effective Date does not occur, then (a) the

Plan shall be null and void in all respects, (b) any settlement or compromise embodied in the

Plan (including the fixing or limiting to an amount certain any Claim or Interest or Class of

Claims or Interests), and any document or agreement executed pursuant to the Plan shall be

deemed null and void, and (c) nothing contained in the Plan shall (i) constitute a waiver or

release of any Claims by or against, or any Interests in, the Debtors or any other Person, (ii)

prejudice in any manner the rights of the Debtors, or any other Person, or (iii) constitute an

admission of any sort by the Debtors, or any other Person.

       98.     Substantial Consummation. On the Effective Date, the Plan shall be deemed to

be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

       99.     Waiver of Stay. For good cause shown, the stay of this Confirmation Order

provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

enforceable immediately upon its entry by the Court.

       100.    References to and Omissions of Plan Provisions. References to articles,

sections, and provisions of the Plan are inserted for convenience of reference only and are not

intended to be a part of or to affect the interpretation of the Plan. The failure to specifically

include or to refer to any particular article, section, or provision of the Plan in this Confirmation

Order shall not diminish or impair the effectiveness of such article, section, or provision, it being

the intent of the Court that the Plan be confirmed in its entirety, except as expressly modified

herein, and incorporated herein by this reference.

       101.    Headings. Headings utilized herein are for convenience and reference only, and

do not constitute a part of the Plan or this Confirmation Order for any other purpose.




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        102.    Effect of Conflict. This Confirmation Order supersedes any Court order issued

prior to the Confirmation Date that may be inconsistent with this Confirmation Order. If there is

any inconsistency between the terms of the Plan and the terms of this Confirmation Order, the

terms of this Confirmation Order govern and control.

        103.    Final Order. This Confirmation Order is a Final Order and the period in which

an appeal must be filed shall commence upon the entry hereof.

        104.    Retention of Jurisdiction. The Court may properly, and upon the Effective Date

shall, to the full extent set forth in the Plan, retain jurisdiction over all matters arising out of, and

related to, the Chapter 11 Cases, including the matters set forth in Section 11.1 of the Plan and

section 1142 of the Bankruptcy Code.

        105.    Nothing in the Plan or this Confirmation Order shall affect, impair or modify that

certain loan issued by Banco Nacional de Comercio Exterior, S.N.C, Banca de Desarrollo

(“Bancomext”), BBVA Bancomer, S.A., Institución de Banca Múltiple, Grupo Financiero BBV

Bancomer (“BBVA”), and Banco Mercantil del Norte (“Banorte,” and, together with BBVA and

Bancomext, the “Bancomext Loan Entities”) to Debtor Maxcom Parent in October 2015 in the

original principal amount of MexPs 150 million (the “Bancomext Loan,” and together with any

credit agreements, pledge agreements, trust agreements and related loan documents, the

“Bancomext Loan Documents”)) or any rights related thereto, and all of the rights and

obligations of Debtor Maxcom Parent and the Bancomext Loan Entities in respect of the

Bancomext Loan and Bancomext Loan Documents are preserved in their entirety and shall be

enforceable according to their terms. For the avoidance of doubt, this Court’s order dated

August 21, 2019 Authorizing Debtors to Pay Unimpaired Claims in the Ordinary Course of

Business [Docket No. 29] is hereby reaffirmed and any and all payments made by Maxcom



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Parent on account of the Bancomext Loan during the pendency of the Chapter 11 Cases shall be

and hereby are approved and shall not be subject to avoidance under 11 U.S.C. § 549 or

otherwise.

       106.    Notwithstanding any provi.sion in the Plan, this Confirmation Order or other

related Plan documents to the contrary, nothing discharges or releases the Debtors, the

Reorganized Debtors, or any non-debtor from any right, claim, liability or cause of action of the

United States or any domestic Governmental Unit (as defined in section 101(27) of the

Bankruptcy Code), or impairs the ability of the United States or any domestic Governmental

Unit to pursue any claim, liability, right, defense, or cause of action against any Debtor,

Reorganized Debtor or non-debtor. Contracts, purchase orders, agreements, leases, covenants,

guaranties, indemnifications, operating rights agreements or other interests of or with the United

States or any domestic Governmental Unit shall be, subject to any applicable legal or equitable

rights or defenses of the Debtors or Reorganized Debtors under applicable non-bankruptcy law,

paid, treated, determined and administered in the ordinary course of business as if the Debtors’

bankruptcy cases were never filed. All claims, liabilities, rights, causes of action, or defenses of

or to the United States or any domestic Governmental Unit shall survive the Chapter 11 Cases as

if they had not been commenced and be determined in the ordinary course of business, including

in the manner and by the administrative or judicial tribunals in which such rights, defenses,

claims, liabilities, or causes of action would have been resolved or adjudicated if the Chapter 11

Cases had not been commenced; provided, that nothing in the Plan or this Confirmation Order

shall alter any legal or equitable rights or defenses of the Debtors or the Reorganized Debtors

under non-bankruptcy law with respect to any such claim, liability, or cause of action. Without

limiting the foregoing, for the avoidance of doubt: (i) the United States and any domestic



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Governmental Unit shall not be required to file any proofs of claim or administrative expense

claims in the Chapter 11 Cases for any right, claim, liability, defense, or cause of action; (ii)

nothing shall affect or impair the exercise of the United States’ or any domestic Governmental

Unit’s police and regulatory powers against the Debtors, the Reorganized Debtors or any non-

debtor; (iii) nothing shall be interpreted to set cure amounts or to require the United States or any

domestic Governmental Unit to novate or otherwise consent to the transfer of any federal or state

contracts, purchase orders, agreements, leases, covenants, guaranties, indemnifications, operating

rights agreements or other interests; (iv) nothing shall affect or impair the United States’ or any

domestic Governmental Unit’s rights and defenses of setoff and recoupment, or ability to assert

setoff or recoupment against the Debtors or the Reorganized Debtors and such rights and

defenses are expressly preserved; (v) nothing shall constitute an approval or consent by the

United States without compliance with all applicable legal requirements and approvals under

non-bankruptcy law, (vi) nothing shall relieve any party from compliance with all licenses and

permits in accordance with non-bankruptcy law. In addition, no provision in the Plan,

Confirmation Order or other related Plan documents relieves the Debtors or the Reorganized

Debtors from their obligations, if any, to comply with the Communications Act of 1934, as

amended, and the rules, regulations and orders promulgated thereunder by the Federal

Communications Commission (“FCC”). No transfer of any FCC license or authorization held by

the Debtors, or transfer of control of a Debtor that is an FCC licensee, or transfer of control of a

FCC licensee controlled by the Debtors shall take place prior to the issuance of FCC regulatory

approval for such transfer pursuant to applicable FCC regulations. The FCC’s rights and powers

to take any action pursuant to its regulatory authority including, but not limited to, imposing any




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regulatory conditions on any of the above described transfers, are fully preserved, and nothing

herein shall proscribe or constrain the FCC’s exercise of such power or authority.

Dated: September __, 2019
       White Plains, New York

                                     ___________________________
                                     ROBERT D. DRAIN
                                     United States Bankruptcy Judge




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                                    EXHIBIT A

                            Prepackaged Chapter 11 Plan
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Proposed Attorneys for the Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    MAXCOM USA TELECOM, INC. , et al.,1                            )   Case No. 19-23489(RDD)
                                                                   )
                                                                   )
                            Debtors.                               )   (Jointly Administered)
                                                                   )




                           AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN




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New York, New York 10166
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Proposed Attorneys to the Debtors and Debtors-in-Possession



Dated: September 9, 2019




1
       The Debtors, together with the last four digits of each Debtor’s tax identification number, Maxcom USA
Telecom, Inc. (7220) and Maxcom Telecomunicaciones, S.A.B. de C.V. (8KT0). The location of Debtor Maxcom
Telecomunicaciones, S.A.B. de C.V.’s corporate headquarters and service address are: Guillermo González
Camarena, 2000, Centro Ciudad, Santa Fé, Mexico, CDMX. The service address for Debtor Maxcom Telecom
USA Inc. is c/o United Corporate Services, Inc., Ten Bank Street, Suite 560, White Plains, NY 10606.
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                                                  INTRODUCTION

          Maxcom USA Telecom, Inc. and Maxcom Telecomunicaciones, S.A.B. de C.V., as debtors and debtors in
possession (each, a “Debtor” and, collectively, the “Debtors”) propose this amended plan of reorganization (the
“Plan”). Reference is made to the Disclosure Statement for a discussion of the history, businesses, properties and
operations, projections and risk factors related to the Debtors, as well as a summary and analysis of this Plan and
certain related matters. Capitalized terms used herein shall have the meanings set forth in Section 1.1 below.

                                                      ARTICLE I

                 DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF
                       TIME, GOVERNING LAW, AND OTHER REFERENCES

1.1      Defined Terms

          1.       “Administrative Claim” means any Claim for costs and expenses of administration during the
Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a)
the actual and necessary costs and expenses incurred on or after the Petition Date until and including the Effective
Date of preserving the Estates and operating the businesses of the Debtors; (b) Allowed Professional Claims; and (c)
all fees and charges assessed against the Estates pursuant to section 1930 of chapter 123 of title 28 of the United States
Code.

         2.       “Affiliate” means affiliate as such term is defined in section 101(2) of the Bankruptcy Code.

         3.       “Allowed” means, with reference to any Claim or Interest, or any portion thereof, that is (a)
specifically allowed under this Plan, (b) allowed under the Bankruptcy Code, or (c) allowed by a Final Order.

        4.        “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies that may be brought by or on behalf of any Debtor or its Estate or other authorized parties in interest under
the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under sections 502, 510, 542,
544, 545, and 547 through and including 553 of the Bankruptcy Code.

          5.       “Ballot” means the form or forms distributed to certain Holders of Claims that are entitled to vote
on the Plan by which such parties may indicate acceptance or rejection of the Plan and includes both the form
distributed for use by the actual beneficial owners of the Old Notes and the form distributed for use by the bank,
broker, or other financial institution that holds the Old Notes in “street name” on behalf of one or more beneficial
owners.

       6.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as may be
amended from time to time.

         7.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New
York or such other court having jurisdiction over the Chapter 11 Cases.

         8.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the United
States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as applicable to the
Chapter 11 Cases and the general, local, and chambers rules of the Bankruptcy Court.

        9.      “Business Day” means any day, other than (a) a Saturday, Sunday, or a “legal holiday” (as defined
in Bankruptcy Rule 9006(a)(6)), or (b) any other day on which banks are legally permitted to be closed in New York
or Mexico.

        10.      “Cash” means the legal tender of the United States of America or the equivalent thereof, including
bank deposits and checks.
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        11.       “Cash Payment” means Cash in an amount of US$100 for each US$1,000 of principal amount of
Old Notes.

          12.       “Causes of Action” means any and all claims, actions, causes of action, choses in action, suits, debts,
demands, damages, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,
controversies, agreements, promises, variances, trespasses, judgments, remedies, rights of set-off, third-party claims,
subrogation claims, contribution claims, reimbursement claims, indemnity claims, counterclaims, and crossclaims
(including all claims and any avoidance, recovery, subordination, or other actions against Insiders and/or any other
Entities under the Bankruptcy Code, including Avoidance Actions) of the Debtors, the debtors in possession, and/or
the Estates, whether known or unknown, liquidated or unliquidated, fixed or contingent, matured or unmatured,
disputed or undisputed, that are or may be pending on the Effective Date or commenced by the Reorganized Debtors
after the Effective Date against any Entity, based in law or equity, including under the Bankruptcy Code, whether
direct, indirect, derivative, or otherwise and whether asserted or unasserted as of the date of entry of the Confirmation
Order.

         13.     “Chapter 11 Cases” means the cases pending for the Debtors under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court.

         14.      “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

          15.       “Claims and Solicitation Agent” means the claims, noticing, and/or solicitation agent the Debtors
will retain in the Chapter 11 Cases pursuant to an order of the Bankruptcy Court.

         16.      “Claims Register” means the official register of Claims maintained by the Claims and Solicitation
Agent.

         17.      “Class” means a category of Holders of Claims or Interests under section 1122(a) of the Bankruptcy
Code.

         18.       “Collateral Documents” means all of the documents and instruments that secure the Old Notes and
Old Notes Indenture, including without limitation: (a) mortgages on the assets and properties owned by the Debtors
and the Non-Debtor Guarantors as set forth more fully in that mortgage dated October 11, 2013 and recorded at Book
1664, Document 77,168 (as same may be amended, the “Mortgage”); (b) that certain Intercompany Subordination and
Credit Agreement dated as of October 13, 2013 by and among Maxcom and certain of Maxcom’s subsidiaries as set
forth therein (the “Intercompany Subordination Agreement”); (c) that certain Notation of Guarantee executed by
certain of Maxcom’s subsidiaries set forth therein (the “Subsidiary Guarantee”); and (d) that certain Irrevocable
Administration Trust Agreement with Reversion Rights and entered into between and among Grupo Financiero
Banorte, as trustee, Deutsche Bank Trust Company Americas, as beneficiary on behalf of certain lender parties,
Maxcom and certain of Maxcom’s subsidiaries set forth therein, as settlors (the “Intercompany Trust Agreement”).

         19.      “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases.

         20.      “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

        21.     “Confirmation Hearing” means the hearing(s) before the Bankruptcy Court under section 1128 of
the Bankruptcy Code at which the Debtors seek entry of the Confirmation Order.

         22.     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under section
1129 of the Bankruptcy Code and approving the Disclosure Statement.

         23.      “Consummation” means the occurrence of the Effective Date.

         24.      “Creditor” has the meaning set forth in section 101(10) of the Bankruptcy Code.



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         25.      “Debtors” has the meaning set forth in the introductory paragraph of this Plan.

        26.      “Description of Junior PIK Notes” means the Description of the Junior PIK Notes annexed to the
Plan Supplement.

       27.        “Description of Senior Notes” means the Description of the Senior Notes annexed to the Plan
Supplement.

        28.     “Disbursing Agent” means the Reorganized Debtors or any Entity selected by the Debtors or
Reorganized Debtors and identified in the Plan Supplement, as applicable, to make or facilitate distributions
contemplated under the Plan.

         29.      “Disclosure Statement” means that certain Offering Memorandum and Consent Solicitation
Statement dated as of June 17, 2019, as may be amended, supplemented, or modified from time to time, including all
exhibits and schedules thereto, to be approved by the Bankruptcy Court.

          30.     “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the
Debtors, on or after the Effective Date, upon which the Reorganized Debtors or the Disbursing Agent shall make
distributions to Holders of Allowed Claims and Interests entitled to receive distributions under the Plan.

         31.      “DTC” means the Depository Trust Company.

         32.      “Early Participation Consideration” means Cash in an amount of $10 for each $1,000 of principal
amount of Old Notes validly tendered in the Exchange Offer by an Old Notes Creditor and not withdrawn prior to or
on the Early Participation Date, with such Cash to be paid by Reorganized Maxcom subject to the occurrence of the
Effective Date.

        33.       “Early Participation Date” means for purposes of being eligible to receive the Early Participation
Consideration, the date that is on or before 5:00 p.m. (New York City time) on June 28, 2019.

         34.       “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
all conditions precedent to the occurrence of the Effective Date set forth in Section 9.1 have been satisfied or waived
in accordance with Section 9.2.

         35.      “Entity” has the meaning set forth in section 101 (15) of the Bankruptcy Code.

        36.     “Estate” means the bankruptcy estate of each Debtor created under sections 301 and 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Cases.

        37.       “Exchange Offer” means the out-of-court process conducted by Maxcom for the exchange of the
Old Notes for the Senior Notes and the Junior PIK Notes.

          38.      “Exculpated Claim” means any Claim related to any act or omission in connection with, relating to,
or arising out of the Debtors’ and Non-Debtor Guarantors’ in-court or out-of-court efforts to negotiate, enter into or
implement the Chapter 11 Cases, the formulation, preparation, solicitation, dissemination, negotiation, or filing of the
Disclosure Statement, the Plan or any contract, instrument, release, or other agreement or document created or entered
into in connection with or pursuant to the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the administration and implementation of the Plan, or the distribution of property under the
Plan.

         39.       “Exculpated Party” means each of the following in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Non-Debtor Guarantors; (d) the Trustee; (e) the Existing Equityholders; and (f) with
respect to each of the foregoing Entities in clauses (a) through (e) such Entity’s predecessors, successors and assigns
and current and former Affiliates, subsidiaries, officers, directors, members, principals, employees, agents, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, and other Professionals.


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         40.     “Existing Equityholders” means, collectively, the existing Holders of Interests in Maxcom who pay
the Shareholder Contribution Amount.

         41.      “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

          42.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction entered on the docket of such court that has not been reversed, vacated, stayed, modified, or
amended, and as to which the time to appeal, petition for certiorari, seek to review or move for reargument or rehearing
has expired and as to which no appeal, petition for certiorari or review or other proceedings for reargument or rehearing
shall then be pending, or as to which any right to appeal, petition for certiorari or review, reargue or rehear shall have
been waived in writing in form and substance satisfactory to the Debtors or the Reorganized Debtors, or, in the event
that an appeal, writ of certiorari or reargument or rehearing thereof has been sought, such order of the Bankruptcy
Court shall have been determined by the highest court to which such order was appealed, or certiorari or review,
reargument or rehearing shall have been denied and the time to take any further appeal, petition for certiorari or review
or move for reargument or rehearing shall have expired; provided, however, that the possibility that a motion under
Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with
respect to such order shall not preclude such order from being a Final Order.

         43.      “General Unsecured Claim” means any Claim against a Debtor other than an Administrative Claim,
a Professional Claim, a Senior Secured Notes Claim, an Other Secured Claim, a Priority Tax Claim, an Other Priority
Claim or an Intercompany Claim.

         44.      “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         45.      “Holder” means an entity holding a Claim or Interest.

         46.     “Impaired” means a Class of Claims or Interests that is impaired within the meaning of section 1124
of the Bankruptcy Code.

         47.      “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

        48.      “Intercompany Claim” means any account reflecting intercompany book entries or a Claim by one
Debtor against another Debtor or by a Non-Debtor Guarantor against a Debtor.

         49.      “Intercompany Interest” means an Interest in a Debtor held by another Debtor.

         50.      “Interest” means any membership, stock or other equity ownership interest in a Debtor and all
dividends and distributions with respect to such membership, stock or other equity ownership interest and all rights,
options, warrants (regardless of when exercised), other rights to acquire any membership, stock or other equity
ownership interest in a Debtor existing immediately prior to the Effective Date.

          51.      “Junior PIK Notes” means the Peso denominated Junior PIK Notes that Reorganized Maxcom will
issue as part of the Senior Notes Distribution in full satisfaction of the Old Notes Claims on the terms set forth in the
Description of Junior PIK Notes in an aggregate principal amount of US$100 per US$1,000 of Old Notes.

         52.      “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         53.      “Mexico” means the United Mexican States.

        54.      “New Board” means, collectively, the initial board of directors or members, as the case may be, of
the Reorganized Debtors.

        55.       “New Corporate Governance Documents” means the form of the articles of incorporation and
bylaws, or other similar organizational and constituent documents, as may be required under applicable law, for the
Reorganized Debtors, and which forms shall be included in the Plan Supplement.


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          56.     “Non-Debtor Guarantors” means those certain companies affiliated with the Debtors and which are
listed on Exhibit A to the Plan.

         57.      “Old Notes” means those certain Step-Up Senior Notes due 2020, issued by Debtor Maxcom
pursuant to the Old Notes Indenture.

         58.       “Old Notes Claim” means any and all Claims of an Old Notes Creditor against the Debtors arising
under or in connection with the Old Notes Indenture, the Old Notes, the Collateral Documents and all other financing,
security and related documents executed in furtherance of the issuance of the Old Notes, including for the avoidance
of doubt, accrued and unpaid interest on the Old Notes up to the Petition Date.

         59.      “Old Notes Creditors” means Holders of the Old Notes.

         60.     “Old Notes Guarantees” means those guarantees provided by the Non-Debtor Guarantors pursuant
to which the Non-Debtor Guarantors guaranteed Debtor Maxcom’s obligations under the Old Notes.

         61.      “Old Notes Indenture” means that certain Indenture, by and among Debtor Maxcom, as issuer, the
Guarantors (as such term is defined in the Old Notes Indenture), Deutsche Bank Trust Company Americas, as trustee
and collateral agent, and Deutsche Bank Luxembourg S.A., as Luxembourg sub-paying agent and transfer agent.

         62.      “Other Priority Claim” means any Claim against the Debtors other than an Administrative Claim
or a Priority Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         63.      “Other Secured Claim” means any Secured Claim against the Debtors other than an Old Notes
Claim.

         64.      “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         65.      “Peso” or “Ps$” means pesos, the legal tender of Mexico.

        66.      “Petition Date” means the date on which the Debtors filed their petition for relief commencing the
Chapter 11 Cases.

          67.      “Plan” means this chapter 11 plan, as it may be altered, amended, modified, or supplemented from
time to time, including the Plan Supplement and all exhibits, supplements, appendices, and schedules.

          68.      “Plan Supplement” means any compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan, which shall be filed by the Debtors no later than five (5) Business Days prior to
the date first scheduled for the Confirmation Hearing, or such later date as may be approved by the Bankruptcy Court
on notice to parties in interest, and additional documents filed with the Bankruptcy Court prior to the Effective Date
as amendments to the Plan Supplement.

         69.       “Priority Tax Claim” means any Claim of a Governmental Unit against the Debtors of the kind
specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code, including a Secured Tax Claim.

         70.      “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a Final Order in
accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated for services rendered prior to
or on the Effective Date pursuant to sections 327, 328, 329, 330, and 331 of the Bankruptcy Code or (b) for which
compensation and reimbursement has been Allowed by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

        71.       “Professional Claim” means a Claim by a Professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of costs, expenses or other charges incurred under sections
330, 331, or 503(b) of the Bankruptcy Code after the Petition Date and prior to and including the Effective Date.



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         72.      “Proof of Claim” means a proof of Claim filed against the Debtors in the Chapter 11 Cases.

        73.       “Pro Rata” means the proportion of an Allowed Claim in a particular Class bears to the aggregate
amount of all Allowed Claims in that Class.

         74.        “Record Date” means (i) for purposes of making distributions under the Plan on account of Allowed
Claims, the Confirmation Date, and (ii) for purposes of casting Ballots on the Plan, June 14, 2019. Notwithstanding
the foregoing, the Record Date in (i) herein shall not apply to publicly held securities, the holders of which shall
receive their distribution via a mandatory exchange in accordance with the customary procedures of DTC.

         75.     “Reinstated” means, with respect to Claims and Interests, treated in accordance with section 1124
of the Bankruptcy Code.

          76.      “Released Party” means each of the following: (a) the Debtors; (b) the Non-Debtor Guarantors; (c)
the Trustee; (d) the Existing Equityholders; and (e) with respect to each of the foregoing Entities in clauses (a) through
(d), such Entity’s successors and assigns, and current and former Affiliates, subsidiaries, officers, directors, members,
stockholders, partners, principals, employees, agents, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, and other Professionals, solely in their respective capacities as such.

         77.      “Releasing Party” means each of the following: (a) the Holders of Impaired Claims or Interests that
affirmatively vote to accept the Plan (b) the Trustee; and (c) with respect to each of the foregoing Entities in clauses
(a) and (b), such Entity’s successors and assigns, and current and former Affiliates, subsidiaries, officers, directors,
members, stockholders, partners, principals, employees, agents, financial advisors, attorneys, accountants, investment
bankers, consultants, representatives, and other Professionals, solely in their respective capacities as such.

        78.       “Reorganized Debtor” means, with respect to any Debtor, any successor thereto, by merger,
consolidation, or otherwise, on or after the Effective Date.

         79.      “Reorganized Maxcom” means Maxcom, or any successor thereto, by merger, consolidation, or
otherwise, on or after the Effective Date, it being understood that, as of the Effective Date, Reorganized Maxcom shall
be a corporation organized under the laws of Mexico.

          80.       “Secured Claim” means a Claim against the Debtors: (a) secured by a Lien on collateral to the extent
of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b) subject
to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          81.       “Secured Tax Claim” means any Secured Claim which, absent its secured status, would be entitled
to priority in right of payment under section 507(a)(8) of the Bankruptcy Code.

          82.       “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa, or any similar federal,
state or local law.

        83.       “Senior Notes” means the Senior Notes due 2024 that Reorganized Maxcom will issue as part of the
Senior Notes Distribution in full satisfaction of the Old Notes Claims on the terms set forth in the Description of
Senior Notes in an aggregate principal amount of US$550 per US$1,000 of Old Notes.

          84.      “Senior Notes Collateral Documents” means the collateral documents to be executed in connection
with the issuance of the Senior Notes and the execution of the Senior Notes Indenture, including: (a) mortgages on
certain assets and properties owned by the Debtors and certain of the Non-Debtor Guarantors such that the Senior
Notes will be secured by same collateral securing the Old Notes and (b) guarantees of Reorganized Maxcom’s
obligations under the Senior Notes Indenture by certain of the Debtors and Non-Debtor Guarantors, all as provided
for in the Senior Notes Indenture.

       85.      “Senior Notes Distribution” means, collectively, the Senior Notes, the Junior PIK Notes, the Cash
Payment, Cash in an amount equal to the amount of interest accrued on the Old Notes up to the Effective Date and,


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for those Old Notes Creditors who validly tender and not withdraw their Old Notes prior to or on the Early Participation
Date, the Early Participation Consideration.

         86.      “Senior Notes Indenture” means the indenture governing the Senior Notes, which shall be consistent
with the Description of Senior Notes in all respects.

          87.      “Shareholder Contribution Amount” means, subject to the occurrence of the Effective Date, the
capital contribution that will be made by one or more Existing Equityholders on or as soon as reasonably practicable
after the Effective Date in an amount not to exceed Ps. 300 million.

         88.     “Trustee” means U.S. Bank National Association, in its capacity as trustee and collateral agent
under the Old Notes Indenture.

          89.      “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed Claim
or Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of distributions made by check,
negotiated such check; (b) given notice to the Reorganized Debtors of an intent to accept a particular distribution; (c)
responded to a Debtor’s or Reorganized Debtor’s requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

          90.     “Unimpaired” means, with respect to a Claim, Interest or Class of Claims or Interests, a Claim,
Interest or Class of Claims or Interests that is not impaired within the meaning of section 1124 of the Bankruptcy
Code.

1.2      Rules of Interpretation

          For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that such document shall be substantially in such form or substantially on such
terms and conditions; (c) unless otherwise specified, any reference herein to an existing document, schedule, or
exhibit, shall mean such document, schedule, or exhibit, as it may have been or may be amended, modified, or
supplemented; (d) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or
hereto; (e) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any particular
portion of the Plan; (f) captions and headings to Articles are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation of the Plan; (g) unless otherwise specified herein, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (h) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.

1.3      Computation of Time

         Bankruptcy Rule 9006(a) applies in computing any period of time prescribed or allowed herein.

1.4      Governing Law

         Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject to the provisions of any
contract, lease, instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in accordance
with, the laws of the State of New York, without giving effect to conflict of laws principles.

1.5      Reference to Monetary Figures

        All references in the Plan to monetary figures refer to currency of the United States of America, unless
otherwise expressly provided.


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                                                     ARTICLE II

                                 ADMINISTRATIVE AND PRIORITY CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims set forth in
ARTICLE III.

2.1      Administrative Claims

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or
Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United
States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the
amount of such Allowed Administrative Claim either: (a) on the Effective Date, or as soon as reasonably practicable
thereafter; (b) if the Administrative Claim is not Allowed as of the Effective Date, no later than 30 days after the date
on which an order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter; or (c) if the Allowed Administrative Claim is based on liabilities incurred by the Debtor in the ordinary
course of its business after the Petition Date in accordance with the terms and conditions of the particular transaction
giving rise to such Allowed Administrative Claim without any further action by the Holders of such Allowed
Administrative Claims.

2.2      Professional Claims

          All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Effective Date must be filed no later than 45 days after the Effective Date. The Bankruptcy Court
shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Code. The Reorganized Debtors shall pay Professional Claims in Cash in
the amount the Bankruptcy Court allows. From and after the Confirmation Date, any requirement that Professionals
comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for
services rendered after such date shall terminate, and the Reorganized Debtors may employ and pay any Professional
in the ordinary course of business without any further notice to or action, order, or approval of the Bankruptcy Court.

2.3      Priority Tax Claims

          Each Holder of an Allowed Priority Tax Claim due and payable on or before the Effective Date shall receive
in full and final satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed Priority
Tax Claim: (a) the treatment provided by section 1129(a)(9)(C) of the Bankruptcy Code; (b) a Cash payment on, or
as soon as reasonably practicable after, the later of the Effective Date or the date on which such Priority Tax Claim
becomes an Allowed Priority Tax Claim, equal to the amount of such Allowed Priority Tax Claim; or (c) such other
less favorable treatment as may be agreed upon between the Holder of such Allowed Priority Tax Claim and the
Debtors. If payment is made in accordance with section 1129(a)(9)(C), installment payments shall be made quarterly
and interest shall accrue in accordance with 26 U.S.C. § 6621. On the Effective Date, Liens securing such Allowed
Secured Tax Claim shall be deemed released, terminated and extinguished, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order or rule or the vote, consent,
authorization or approval of any Person. To the extent any Allowed Priority Tax Claim is not due and owing on the
Effective Date, such Claim may be paid in full in Cash in accordance with the terms of any agreement between the
Debtors and the Holder of such Claim, or as may be due and payable under applicable non-bankruptcy law, or in the
ordinary course of business.

2.4      Other Priority Claims

          Each Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall receive
in full and final satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed Other
Priority Claim: (a) the treatment provided by section 1129(a)(9) of the Bankruptcy Code; (b) a Cash payment on, or


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as soon as reasonably practicable after, the later of the Effective Date or the date on which such Other Priority Claim
becomes an Allowed Other Priority Claim, equal to the amount of such Allowed Other Priority Claim; or (c) such
other less favorable treatment as may be agreed upon between the Holder of such Allowed Priority Tax Claim and the
Debtors.

2.5      Payment of Statutory Fees

          Notwithstanding anything to the contrary contained herein, on the Effective Date, the Debtors shall pay, in
full in Cash, any fees due and owing to the U.S. Trustee at the time of Confirmation. On and after the Effective Date,
Reorganized Maxcom shall pay the applicable U.S. Trustee fees for each of the Reorganized Debtors until the entry
of a Final Decree in each such Debtor’s Chapter 11 Case or until each such Chapter 11 Case is converted or dismissed.

2.6      Trustee Expenses

          On the Effective Date, Reorganized Maxcom shall pay all reasonable, documented, and unpaid fees, expenses
and out-of-pocket costs (including the reasonable and documented fees and expenses of counsel to the Trustee)
incurred by the Trustee through the Effective Date, if any, except any such fees, costs and expenses as may be
attributable to the Trustee’s gross negligence or willful misconduct.

                                                         ARTICLE III

                     CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND
                                          INTERESTS

         Except for the Claims addressed in ARTICLE II, all Claims and Interests are classified in the Classes set
forth below in accordance with section 1122 of the Bankruptcy Code. A Claim or Interest is classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and is classified in other
Classes to the extent that any portion of the Claim or Interest qualifies within the description of such other Classes. A
Claim or Interest is also classified in a particular Class for the purpose of receiving distributions pursuant to the Plan
only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid,
released, or otherwise satisfied prior to the Effective Date. For the avoidance of doubt, Secured Tax Claims are being
addressed under Section 2.3 of the Plan.

3.1      Classification of Claims and Interests

         Claims against and Interests in the Debtors are divided into the following lettered Classes:


      Letter        Class
      Class A       Class A consists of the Old Notes Claims.

      Class B       Class B consists of all Other Secured Claims.

      Class C       Class C consists of all General Unsecured Claims.

      Class D       Class D consists of all Intercompany Claims.

      Class E       Class E consists of all Interests.

3.2      Treatment of Classes of Claims and Interests

         The following chart designates the Class of Claims against and Interests in the Debtors and specifies which
of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code and (c) deemed to accept or reject the Plan. The Debtors may


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not have Holders of Claims or Interests in a particular Class or Classes, and such Classes shall be treated as set forth
in Section 3.4 of the Plan.


          Class            Claim or Interest                    Status                      Voting Rights
            A              Old Notes Claims                     Impaired                    Entitled To Vote

            B              Other Secured Claims                 Unimpaired                  Deemed To Accept;
                                                                                            Not Entitled To Vote

            C              General Unsecured Claims             Unimpaired                  Deemed to Accept; Not
                                                                                            Entitled to Vote

            D              Intercompany Claims                  Unimpaired                  Deemed To Accept;
                                                                                            Not Entitled to Vote

            E              Interests                            Unimpaired                  Deemed To Accept;
                                                                                            Not Entitled To Vote

          Except to the extent that a Holder of an Allowed Claim against or Interest in the Debtors as applicable, agrees
to a less favorable treatment, such Holder shall receive under the Plan the treatment described below in full and final
satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed Claim or Interest. Unless
otherwise indicated, the Holder of an Allowed Claim or Interest, as applicable, shall receive such treatment on the
Effective Date, or as soon as reasonably practicable thereafter:

Class A (Old Notes Claims)

    (1) Classification: Class A consists of the Old Notes Claims against each of the Debtors.

    (2) Allowance: On the Effective Date, the Old Notes Claims shall be Allowed in the principal amount of
        US$103,338,674 plus interest accrued up to the Effective Date, and shall not be subject to avoidance,
        subordination, setoff, offset, deduction, objection, challenge, recharacterization, surcharge under section
        506(c) of the Bankruptcy Code or any other claim or defense.

    (3) Treatment: In full and final satisfaction, settlement, release, and discharge of and exchange for each Allowed
        Old Notes Claim, each Holder of an Allowed Old Notes Claim shall receive its Pro Rata share of (i) Senior
        Notes, (ii) Junior PIK Notes, (iii) the Cash Payment and (iv) Cash in an amount equal to the amount of interest
        accrued on the Old Notes up to the Effective Date. In addition, subject to the occurrence of the Effective
        Date, each Holder of an Allowed Old Notes Claim who validly tendered and did not withdraw its Old Notes
        in the Exchange Offer prior to or on the Early Participation Date shall receive the Early Participation
        Consideration. For the avoidance of doubt, only Holders of Old Notes as of the June 14, 2019 Record Date
        who were eligible to participate in the Exchange Offer and who validly tendered and did not withdraw its
        Old Notes in the Exchange Offer prior to or on the Early Participation Date shall be eligible to receive the
        Early Participation Consideration.

    (4) Voting: Class A is Impaired. Holders of Old Notes Claims are entitled to vote to accept or reject the Plan.

Class B (Other Secured Claims)

    (1) Classification: Class B consists of all Allowed Other Secured Claims against the Debtors.

    (2) Treatment: Each holder of an Allowed Other Secured Claim shall, at the election of the Reorganized Debtors,
        (i) have the legal, equitable and contractual rights of such Holder Reinstated, or (ii) receive, at the option of



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          the Debtors, (A) Cash in an amount equal to such Allowed Other Secured Claim or (B) such other treatment
          as renders its Allowed Other Secured Claim Unimpaired.

      (3) Voting: Class B is Unimpaired. Holders of Allowed Other Secured Claims are conclusively presumed to
          have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of Allowed Other Secured
          Claims are not entitled to vote to accept or reject the Plan.

Class C (General Unsecured Claims)

      (1) Classification: Class C consists of all Allowed General Unsecured Claims against the Debtors.

      (2) Treatment: Holders of Allowed Unsecured Claims shall receive Cash in an amount equal to such Allowed
          General Unsecured Claims on the later of the Effective Date or in the ordinary course of business of the
          Debtors in accordance with the terms of the particular transaction giving rise to such Allowed General
          Unsecured Claim.

      (3) Voting: Class C is unimpaired. Holders of Allowed General Unsecured Claims are conclusively presumed
          to have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of Allowed General
          Unsecured Claims are not entitled to vote to accept or reject the Plan.

Class D (Intercompany Claims)

      (1) Classification: Class D consists of all Allowed Intercompany Claims against the Debtors.

      (2) Treatment: Each Allowed Intercompany Claim will remain Unimpaired.

      (3) Voting: Class D is Unimpaired. Holders of Allowed Intercompany Claims are conclusively presumed to have
          accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of Allowed Intercompany Claims
          are not entitled to vote to accept or reject the Plan.

Class E (Interests)

      (1) Classification: Class E consists of all Allowed Interests in the Debtors, including without limitation,
          Intercompany Interests.

      (2) Treatment: Subject to the Shareholder Contribution Amount, on the Effective Date, the Allowed Interests in
          the Debtors shall all be Reinstated.

      (3) Voting: Class E is Unimpaired. Holders of Allowed Interests in the Debtors are conclusively presumed to
          have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of Allowed Interests are not
          entitled to vote to accept or reject the Plan.

3.3       Special Provision Governing Unimpaired Claims

         Nothing under the Plan shall affect the Debtors’ rights regarding any Unimpaired Claim, including all rights
regarding legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claim.

3.4       Elimination of Vacant Classes

         Any Class of Claims or Interests that (a) does not have a Holder of an Allowed Claim or a Claim temporarily
Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing or (b) is entitled to vote on the Plan but
with respect to which no Ballots are cast or no Ballots are deemed to be cast, shall be deemed eliminated from the
Plan for purposes of determining acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of
the Bankruptcy Code.



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                                                     ARTICLE IV

                           PROVISIONS FOR IMPLEMENTATION OF THE PLAN

4.1      General Settlement of Claims

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions
of the Plan shall constitute a good-faith compromise and settlement of all Claims and Interests.

4.2      Subordination

         The allowance, classification, and treatment of all Claims and Interests under the Plan shall conform to and
with the respective contractual, legal, and equitable subordination rights of such Claims and Interests, and the Plan
shall recognize and implement any such rights. Pursuant to section 510 of the Bankruptcy Code, except where
otherwise provided herein, the Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination relating thereto. For the avoidance of doubt, no Claim in Class
A shall be subject to subordination.

4.3      Sources of Cash for Plan Distributions

          All Cash consideration necessary for the Reorganized Debtors to make payments or distributions pursuant to
this Plan shall be obtained from Cash of the Reorganized Debtors. Further, the Reorganized Debtors will be entitled
to transfer funds between and among themselves as they determine to be necessary or appropriate to enable them to
satisfy their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances
resulting from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany
account settlement practices and will not violate the terms of the Plan.

4.4      Issuance of the Senior Notes and Junior PIK Notes

          On and after the Effective Date, Reorganized Maxcom is authorized to issue, execute, deliver or otherwise
bring into effect, as the case may be, to or for the benefit of the Holders of Allowed Old Notes Claims, the Senior
Notes and the Junior PIK Notes and any other instruments, certificates, and other documents or agreements required
to be issued, executed or delivered pursuant to the Plan, and take any other necessary actions in connection with the
foregoing, in each case without need for further notice to or order of the Bankruptcy Court, act, or action under
applicable law, regulation, order, or rule or the vote, consent, authorization, or approval of any Entity. The issuance
of the Senior Notes and Junior PIK Notes shall be exempt from registration under section 1145 of the Bankruptcy
Code and, to the extent applicable, under applicable securities laws. All documents, agreements and instruments
entered into and delivered on or as of the Effective Date contemplated by or in furtherance of this Plan shall become
effective and binding in accordance with their respective terms and conditions upon the parties thereto, in each case
without further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
rule or the vote, consent, authorization, or approval of any Entity (other than as expressly required by such applicable
agreement). On the Effective Date, the guarantees, pledges, liens and other security interests granted pursuant to the
Senior Notes Indenture and the Senior Notes Collateral Documents have been and are granted in good faith as an
inducement to the holders of the Old Notes Claims to agree to the treatment afforded to them under the Plan and shall
not be deemed to constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be subject to avoidance,
and the priorities of such liens and security interests shall be as set forth in the Senior Notes Indenture and Senior
Notes Collateral Documents.

4.5      Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided herein, or in any agreement, instrument, or other document incorporated in the
Plan, on the Effective Date, all property in the Estate and all Causes of Action, shall vest in the Reorganized Debtors,
free and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as
otherwise provided in the Plan or any other agreement or document related thereto or entered into in connection


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therewith, the Reorganized Debtors may operate their businesses and may use, acquire, or dispose of property and
compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

4.6      Discharge from Old Notes, Instruments, Certificates, and Other Documents

          On the Effective Date, except as otherwise provided in this Plan: (1) the Mortgage, the Old Notes Indenture,
the Old Notes Guarantees, the Subsidiary Guarantee, the Intercompany Trust Agreement, the Intercompany
Subordination Agreement, and any other certificate, share, note, bond, indenture, purchase right, option, warrant, or
other instrument or document, directly or indirectly, evidencing or creating any indebtedness or obligation of or
ownership interest in the Debtors giving rise to any Claim or Interest (except such certificates, mortgages, notes, or
other instruments or documents evidencing indebtedness or obligations of or ownership interest in the Debtors that
are specifically Reinstated or otherwise not Impaired under the Plan) shall be deemed cancelled, discharged, released
and extinguished, and neither the Debtors nor the Non-Debtor Guarantors shall have any continuing obligations
thereunder; and (2) the obligations of the Debtors pursuant, relating, or pertaining to any agreements, indentures,
certificates of designation, bylaws, or certificate or articles of incorporation or similar documents governing the shares,
certificates, notes, bonds, purchase rights, options, warrants, or other instruments or documents evidencing or creating
any indebtedness or obligation of or ownership interest in the Debtors (except such agreements, certificates,
mortgages, notes, or other instruments evidencing indebtedness or obligations of or ownership interests in the Debtors
that are specifically Reinstated or otherwise not Impaired under the Plan) shall be released and discharged; provided,
however, notwithstanding Confirmation or the occurrence of the Effective Date, any such indenture or agreement that
governs the rights of the Holder of a Claim shall continue in effect solely for purposes of enabling Holders of Allowed
Claims to receive distributions under the Plan as provided herein; provided further, however, that the preceding
proviso shall not affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the Confirmation Order,
or the Plan or result in any expense or liability to the Reorganized Debtors, except to the extent set forth in or provided
for under this Plan. Notwithstanding the foregoing and solely for the purpose set forth in this sentence, the following
rights of the Trustee shall remain in effect after the Effective Date: (1) rights to payment of fees, expenses and
indemnification obligations, including from property distributed hereunder to the Trustee, whether pursuant to the
exercise of a charging lien or otherwise, (2) rights relating to distributions made to Holders of Allowed Old Notes
Claims by the Trustee from any source, including distributions hereunder, (3) rights relating to representation of the
interests of the Holders of Old Notes Claims by the Trustee in the Chapter 11 Cases to the extent not discharged or
released hereunder or any order of the Bankruptcy Court, and (4) rights relating to participation by the Trustee in any
proceedings related to the Plan. On and after the Effective Date, all duties and responsibilities of the Trustee shall be
discharged unless otherwise specifically set forth in or provided for under the Plan.

4.7      Restructuring Transactions

          On the Effective Date, or as soon as reasonably practicable thereafter, the Reorganized Debtors may take all
actions as may be necessary or appropriate to effect any transaction described in, approved by, contemplated by or
necessary to effectuate the Plan, including: (1) the execution and delivery of appropriate agreements or other
documents of merger, consolidation, restructuring, conversion, disposition, transfer, dissolution, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable
law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt or obligation
on terms consistent with the terms of the Plan and having other terms for which the applicable parties agree; (3) the
filing of appropriate certificates or articles of incorporation, reincorporation, merger, consolidation, conversion, or
dissolution pursuant to applicable law; and (4) all other actions that the applicable Entities determine to be necessary
or appropriate, including making filings or recordings that may be required by applicable law.

4.8      Corporate Action

         The Debtors or the Reorganized Debtors, as applicable, are authorized to take all further corporate actions
necessary to effectuate the Plan and authorize each of the matters provided for by the Plan involving the corporate
structure of the Debtors or corporate or related actions to be taken by or required of the Reorganized Debtors, whether
taken prior to or as of the Effective Date.


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4.9      New Corporate Governance Documents

         Solely to the extent required by applicable non-bankruptcy law, on or immediately before the Effective Date,
the Reorganized Debtors will file their New Corporate Governance Documents with the applicable Secretaries of State
and/or other applicable authorities in their respective states, provinces, or countries of incorporation in accordance
with the corporate laws of the respective states, provinces, or countries of incorporation. The New Corporate
Governance Documents will be consistent with the provisions of the Plan and the Bankruptcy Code. After the
Effective Date, the Reorganized Debtors may amend and restate their New Corporate Governance Documents as
permitted by the laws of their respective jurisdiction of formation and their respective New Corporate Governance
Documents.

4.10     Effectuating Documents; Further Transactions

         On and after the Effective Date, the Reorganized Debtors, and the officers and/or members of the board of
directors thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, without the need for any approvals,
authorizations, or consents except for those expressly required under the Plan.

4.11     Section 1146(a) Exemption

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property under the Plan shall not be
subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp act,
real estate transfer tax, mortgage recording tax, or other similar tax or governmental assessment, and upon entry of
the Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the collection of
any such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments or
other documents without the payment of any such tax, recordation fee, or governmental assessment.

4.12     Managers, Directors and Officers

         Subject to any requirement of Bankruptcy Court approval pursuant to section 1129(a)(5) of the Bankruptcy
Code, and except as may otherwise be disclosed in the Disclosure Statement, as of the Effective Date, the directors
and officers who are identified in the Plan Supplement shall serve as the initial board of directors and officers of the
Reorganized Debtors. Pursuant to section 1129(a)(5), the Debtors will disclose in the Plan Supplement, on or prior to
the Confirmation Date, the identity and affiliations of any Person proposed to serve on the Reorganized Debtors’
boards of directors and, to the extent such Person is an Insider, the nature of any compensation for such Person. After
the Effective Date, the corporate governance and management of the Reorganized Debtors shall be determined by the
applicable board of managers or board of directors in accordance with the laws of the applicable state or county of
organization.

4.13     Preservation of Rights of Action

         Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or by a Final Order, in accordance with section 1123(b) of the Bankruptcy Code,
the Reorganized Debtors shall retain and may enforce all rights to commence and pursue any and all Causes of Action,
whether arising before or after the Petition Date, including any actions specifically enumerated in the Plan Supplement,
and the Reorganized Debtors’ rights to commence, prosecute, or settle such Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date. No Entity may rely on the absence of a specific reference in
the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action against them as any
indication that the Debtors or the Reorganized Debtors will not pursue any and all available Causes of Action
against them. The Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the Plan. Unless any Causes of
Action against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan
or a Bankruptcy Court order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication,
and, therefore no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,


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claim preclusion, estoppel, judicial, equitable, or otherwise, or laches, shall apply to such Causes of Action upon,
after, or as a consequence of the Confirmation or Consummation. From and after the Effective Date, the Debtors or
the Reorganized Debtors, as applicable, shall have the exclusive right, authority and discretion to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw or litigate to judgment any Cause of
Action and to decline to do any of the foregoing without further notice to or action, order or approval of the Bankruptcy
Court.

          Notwithstanding any provision in the Plan or any Order entered in the Chapter 11 Cases, the Debtors and
Reorganized Debtors forever waive, relinquish, and release any and all Causes of Action the Debtors and their estates
had, have, or may have that arise under sections 544, 547, 548 and 549 of the Bankruptcy Code against any Entity
that is being rendered Unimpaired under the Plan and any Entity, including Professionals, with whom the Debtor is
conducting and will continue to conduct business on and after the Effective Date.

4.14     Directors and Officers Insurance Policies

         Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of their D&O Insurance Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the
Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized
Debtors’ foregoing assumption of each of the unexpired D&O Insurance Policies. Notwithstanding anything to the
contrary contained in the Plan, confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity
obligations assumed by the foregoing assumption of the D&O Insurance Policies, and each such indemnity obligation
will be deemed and treated as an Executory Contract that has been assumed by the Debtors under the Plan as to which
no Proof of Claim need be filed. In addition, after the Effective Date, the Reorganized Debtors shall not terminate or
otherwise reduce the coverage under any D&O Insurance Policy (including any “tail policy”) in effect on the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy regardless of whether such directors and officers remain in such positions after the Effective Date.

4.15     Indemnification Provisions in Organizational Documents

         On and from the Effective Date, and except as prohibited by applicable non-bankruptcy law, the Reorganized
Debtors shall assume or reinstate, as applicable, all indemnification obligations in place as of the Effective Date
(whether in by- laws, certificates of incorporation, board resolutions, contracts, or otherwise) for the current and
former directors, members, officers, managers, employees, attorneys, other professionals and agents of the Debtors;
provided, however, such indemnification obligations shall not apply with respect to any act or omission constituting
gross negligence, willful misconduct, fraud, or criminal conduct as determined by a Final Order entered by a court of
competent jurisdiction, except to the extent of available insurance.

4.16     Reinstatement of Equity Interests

         On the Effective Date, all equity interests in each Debtor, including Intercompany Interests, shall be deemed
reinstated without any additional act on the part of such Debtor or such Reorganized Debtor.

4.17     Exemption from Registration Requirements

         The offering, issuance, and distribution of any Securities, including the Senior Notes and Junior PIK Notes
pursuant to the Plan shall be exempt from, among other things, the registration requirements of section 5 of the
Securities Act pursuant to section 1145 of the Bankruptcy Code, Regulation S of the Securities Act, or any other
available exemption from registration under the Securities Act, as applicable. To the extent that the issuance of the
Senior Notes and the Junior PIK Notes is covered by section 1145 of the Bankruptcy Code, except as otherwise
provided in the Plan or the governing certificates or instruments, the Senior Notes and the Junior PIK Notes issued
under the Plan will be freely tradable under the Securities Act by the recipients thereof, subject to: (a) the provisions
of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the
Securities Act, and compliance with any applicable state or foreign securities laws, if any, and any rules and
regulations of the SEC, if any, applicable at the time of any future transfer of such Securities or instruments, including


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any such restrictions any agreement governing the Senior Notes and the Junior PIK Notes; (b) the restrictions, if any,
on the transferability of such securities and instruments; and (c) any other applicable regulatory approval.

                                                     ARTICLE V

                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

5.1      Assumption and Rejection of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided herein or in any contract, instrument, release, indenture,
or other agreement entered into in connection with the Plan, Executory Contracts and Unexpired Leases shall be
deemed assumed as of the Effective Date, unless such Executory Contract or Unexpired Lease (1) was assumed or
rejected previously by the Debtors, (2) previously expired or terminated pursuant to its own terms; or (3) is the subject
of a motion to reject filed on or before the Effective Date, if any. Entry of the Confirmation Order shall constitute a
Bankruptcy Court order approving the assumption of such Executory Contracts or Unexpired Leases as set forth in
the Plan, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated, assumptions of
Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date. Each Executory
Contract or Unexpired Lease assumed pursuant to the Plan or by a Bankruptcy Court order shall re-vest in and be fully
enforceable by the applicable contracting Reorganized Debtor in accordance with its terms notwithstanding any
provision in such assumed Executory Contract or Unexpired Lease that prohibits, restricts or conditions such
assumption, assignment or transfer. Any provision in the assumed Executory Contracts and Unexpired Leases that
purports to declare a breach or default based in whole or in part on the commencement or continuance of these Chapter
11 Cases or any successor cases is hereby deemed unenforceable.

5.2      Claims Based on Rejection of Executory Contracts or Unexpired Leases

        Claims arising from the rejection of any Executory Contract or Unexpired Lease shall be classified as a
General Unsecured Claim and shall be treated in accordance with Article III, as applicable.

5.3      Cure of Defaults for Executory Contracts and Unexpired Leases Assumed.

          Claims or defaults arising or becoming due under any assumed Executory Contract or Unexpired Lease after
the effective date of assumption of the applicable assumed Executory Contract or Unexpired Lease are to be paid in
full in the ordinary course by the applicable Debtor or Reorganized Debtor, as applicable, subject to the rights of the
Debtors or Reorganized Debtors, as applicable, to assert or apply, as applicable, any defenses, setoffs, credits, or
discounts available under the applicable assumed Executory Contract or Unexpired Lease or under applicable non-
bankruptcy law, and, for the avoidance of doubt, such Claims or defaults shall not be released, expunged, discharged,
or enjoined by the Plan or the Confirmation Order and there shall be no need or requirement for the counterparty to
such Executory Contract or Unexpired Lease to file an Administrative Claim for such Claim or default. Nothing in
the Plan releases or discharges the applicable Debtor or Reorganized Debtor from (1) obligations to fully satisfy Cure
Claims on the Effective Date, or to the extent a dispute exists regarding the Cure Claim, upon entry of a Final Order
resolving the dispute or upon mutual agreement between the applicable Debtor or Reorganized Debtor and the
applicable counterparty, or (2) Claims, defaults or obligations arising or becoming due under any assumed Executory
Contract or Unexpired Lease after the effective date of such assumption of the applicable assumed Executory Contract
or Unexpired Lease pursuant to the terms thereof.

         In the event of a dispute regarding (1) the amount of any payment to cure such a default, (2) the ability of the
applicable Reorganized Debtor to provide “adequate assurance of future performance” (within the meaning of section
365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter
pertaining to assumption, the cure payment, if any, required by section 365(b)(1) of the Bankruptcy Code shall be
made following the entry of a Final Order or orders resolving the dispute and approving the assumption.




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5.4      Insurance Policies

         All of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto,
including the D&O Insurance Policies, shall be treated as and deemed to be Executory Contracts under the Plan. As
of the Effective Date, the Debtors shall be deemed to have assumed all insurance policies and any agreements,
documents, and instruments related thereto.

5.5      Indemnification Provisions

         As of the Effective Date, the Debtors and Reorganized Debtors, as applicable, shall be deemed to have
assumed all of the Indemnification Provisions in place on or before the Effective Date for Claims related to or in
connection with any actions, omissions, or transactions occurring before the Effective Date. Entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the Debtors’ foregoing assumption of each of the
Indemnification Provisions. Notwithstanding anything to the contrary contained herein, (1) Confirmation shall not
discharge, impair, or otherwise modify any obligations assumed by the foregoing assumption of the Indemnification
Provisions, (2) each such obligation shall be deemed and treated as an Executory Contract that has been assumed by
the Debtors under the Plan and as to which no Proof of Claim need be filed, and (3) as of the Effective Date, the
Indemnification Provisions shall be binding and enforceable against the Reorganized Debtors.

5.6      Benefit Programs

         As of the Effective Date, all employee compensation and benefit programs of the Debtors, including
programs subject to section 1114 and 1129(a)(13) of the Bankruptcy Code, if any, entered into before or after the
Petition Date and not since terminated, shall be deemed to be, and shall be treated as though they are, Executory
Contracts that are assumed under the Article VI, but only to the extent that rights under such programs are held by the
Debtors or Persons who are employees of the Debtors as of the Confirmation Date; provided, however, that nothing
herein shall extend or otherwise modify the duration of any such program or prohibit the Debtors or the Reorganized
Debtors from modifying the terms and conditions of any such program or benefits as otherwise permitted by such
program and applicable nonbankrutpcy law.

5.7      Modifications, Amendments, Supplements, Restatements or Other Agreements

          Unless otherwise provided for in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, including easements, licenses, permits, rights, privileges, immunities,
options, rights of first refusal, and any other interests. Modifications, amendments, supplements, and restatements to
prepetition Executory Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
priority, or amount of any Claims that may arise in connection therewith.

5.8      Reservation of Rights

          If there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of such
assumption or rejection, the Debtors or Reorganized Debtors, as applicable, shall have 28 calendar days following
entry of a Final Order resolving such dispute to alter their treatment of such contract or lease, including by assuming
or rejecting such contract or lease.

5.9      Nonoccurrence of the Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting unexpired leases pursuant to section 365(d)(4) of the
Bankruptcy Code.




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5.10     Contracts and Leases Entered into After the Petition Date

         Contracts and leases entered into after the Petition by any Debtor will be performed by such Debtor or
Reorganized Debtor liable thereunder in the ordinary course of such Debtor’s business. Accordingly, such contracts
and leases will survive and remain unaffected by entry of the Confirmation Order.

                                                    ARTICLE VI

                                 PROVISIONS GOVERNING DISTRIBUTIONS

6.1      Distributions on Account of Claims Allowed as of the Effective Date

          Except as otherwise provided in the Plan, a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors (as the case may be) and the Holder of the applicable Allowed Claim, on the Distribution Date,
the Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed on or before
the Effective Date, subject to the Debtors’ and Reorganized Debtors’ right to object to Claims; provided, however,
that (1) Allowed Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of
business during the Chapter 11 Cases prior to the Effective Date shall be paid or performed in the ordinary course of
business in accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (2) Allowed Priority Tax Claims shall be paid in accordance with Section 2.3. To
the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim may be paid in full
in Cash in accordance with the terms of any agreement between the particular Debtor or the Reorganized Debtor (as
the case may be) and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy law or
in the ordinary course of business.

6.2      Special Rules for Distributions to Holders of Disputed Claims

          Notwithstanding any provision to the contrary in the Plan and except as otherwise agreed by the relevant
parties: (1) no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all
such disputes in connection with such Disputed Claim have been resolved by settlement or Final Order and (2) any
Entity that holds both an Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim
unless and until all objections to the Disputed Claim have been resolved by settlement or Final Order or the Claim has
been Allowed or expunged. Any dividends or other distributions arising from property distributed to Holders of
Allowed Claims in a Class and paid to such Holders under the Plan shall be paid also, in the applicable amounts, to
any Holder of a Disputed Claim, as applicable, in such Class that becomes an Allowed Claim after the date or dates
that such dividends or other distributions were earlier paid to Holders of Allowed Claims in such Class.

6.3      Disbursing Agent

          Except as otherwise provided in the Plan, all distributions under the Plan shall be made by the Disbursing
Agent on or as soon as practicable after the Effective Date. To the extent the Disbursing Agent are the Reorganized
Debtors, the Disbursing Agent shall not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement, the provisions hereof.

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out-of-pocket expense reimbursement claims (including reasonable attorney fees and expenses)
made by the Disbursing Agent may be paid in Cash by the Reorganized Debtors.



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6.4      Distributions on Account of Old Notes Claims

          On or as soon as is reasonably practicable after the Effective Date, the Reorganized Debtors or the Disbursing
Agent shall distribute the Senior Notes Distribution in accordance with the terms of this Article VI and the Plan
Supplement. Instructions on how holders of Old Notes will receive their pro rata share of the Senior Notes Distribution
will be provided in the Plan Supplement. As a condition to receiving its pro rata share of the Senior Notes Distribution,
the Debtors or the Reorganized Debtors may require an Old Notes Creditor to surrender its Old Notes by completing
the procedures to be described in the Plan Supplement. The method for issuance of the Senior Notes and Junior PIK
Notes will be described in greater detail in the Plan Supplement.

         Holders of Old Notes who do not fulfill the requirements noted above and in the Plan Supplement for the
receipt of their pro rata share of the Senior Notes Distribution within one hundred and eighty (180) days after the
Effective Date shall forfeit their entitlement to a distribution under the Plan, shall not participate in any distribution
under the Plan, and shall have their Claims on account of the Old Notes and Collateral Documents discharged. Any
property in respect of such forfeited Old Notes Claims would revert to Reorganized Maxcom.

6.5      Delivery of Distributions and Undeliverable or Unclaimed Distributions

         (a)      Delivery of Distributions

         Except as otherwise provided in the Plan (including in Section 6.4 above), distributions to Holders of Allowed
Claims shall be made to Holders of record as of the Record Date by the Reorganized Debtors or the Disbursing Agent,
as appropriate: (a) at the addresses set forth in any written notices of address changes delivered to the Reorganized
Debtors or the applicable Disbursing Agent, as appropriate or (b) on any counsel that has appeared in the Chapter 11
Cases on the Holder’s behalf. The Debtors shall have no obligation to recognize any transfer of Claims or Interests
occurring on or after the Record Date; provided, however, that distributions on account of the Old Notes Claims shall
be made in accordance with Section 6.4 above. Subject to this Article VI, distributions under the Plan on account of
Allowed Claims shall not be subject to levy, garnishment, attachment, or like legal process, so that each Holder of an
Allowed Claim shall have and receive the benefit of the distributions in the manner set forth in the Plan. The Debtors,
the Reorganized Debtors, and the Disbursing Agent, as applicable, shall not incur any liability whatsoever on account
of any distributions under the Plan except for fraud, gross negligence, or willful misconduct.

         (b)      Minimum; De Minimis Distributions.

          Notwithstanding anything to the contrary contained in the Plan, the Disbursing Agent shall not be required
to distribute Cash or other property to the Holder of any Allowed Claim or Allowed Interest if the amount of Cash or
other property to be distributed on account of such Allowed Claim or Allowed Interest is less than $50. Any Holder
of an Allowed Claim or Allowed Interest on account of which the amount of Cash or other property to be distributed
is less than such amount shall have such Claim or Interest, as applicable, discharged and shall be forever barred from
asserting such Claim or Interest against the Debtors, the Reorganized Debtors, or their respective property. Any Cash
or other property not distributed pursuant to this provision shall be the property of Reorganized Maxcom.

         (c)      Fractional Senior Notes and Junior PIK Notes or Amounts Less than Integral Multiples

          The Senior Notes will be issued in minimum denominations of US$1,000 and integral multiples of $1 in
excess thereof. The Junior PIK Notes will be issued in minimum denominations of Ps 20,000 and integral multiples
of Ps. 20 in excess thereof. Notwithstanding any other provision in the Plan to the contrary, no fractional amounts of
Senior Notes or Junior PIK Notes shall be issued or distributed pursuant to the Plan. Whenever any distribution under
the Plan would yield a distribution of Senior Notes or Junior PIK Notes below the integral requirement, the actual
distribution shall reflect a rounding of such amount down to the nearest $1 in the case of Senior Notes and down to
the nearest Ps. 20 in the case of Junior PIK Notes. Upon the allocation of all of the whole Senior Notes and Junior
PIK Notes authorized under the Plan, all remaining portions of the entitlements shall be canceled and shall be of no
further force and effect. For distribution and rounding purposes, DTC will be considered a single holder.

         (d)      Compliance Matters


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          In connection with the Plan, to the extent applicable, the Reorganized Debtors or the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions pursuant to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding
any provision in the Plan to the contrary, the Reorganized Debtors or the Disbursing Agent shall be authorized to take
all actions necessary or appropriate to comply with such withholding and reporting requirements, including liquidating
a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes,
withholding distributions pending receipt of information necessary to facilitate such distributions, or establishing any
other mechanisms they believe are reasonable and appropriate. The Reorganized Debtors reserve the right to allocate
all distributions made under the Plan in compliance with all applicable wage garnishments, alimony, child support,
and other spousal awards, liens, and encumbrances. All Persons holding Claims shall be required to provide any
information necessary to effect information reporting and the withholding of such taxes. Notwithstanding any other
provision of this Plan to the contrary, (a) each Holder of an Allowed Claim shall have the sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed by any Governmental Unit, including
income, withholding and other tax obligations, on account of such distribution, and (b) no distribution shall be made
to or on behalf of such Holder pursuant to the Plan unless and until such Holder has made arrangements satisfactory
to the Reorganized Debtors for the payment and satisfaction of such tax obligations.

         (e)       Cash Payments

         Except as otherwise set forth in this Section 6.5(e), distributions of Cash under the Plan shall be made by the
Reorganized Debtors or the Disbursing Agent on behalf of the Debtors in U.S. dollars. At the option of the Disbursing
Agent, any Cash payment to be made hereunder may be made by check or wire transfer or as otherwise required or
provided in applicable agreements. Cash payments to creditors outside of the United States of America may be made,
at the option of the Reorganized Debtors or the Disbursing Agent, in such funds and by such means as are necessary
or customary in a particular foreign jurisdiction.

         (f)       Undeliverable and Unclaimed Distributions

         (1)                Undeliverable Distributions. If any distribution to a Holder of an Allowed Claim is
         returned to the Reorganized Debtors or the Disbursing Agent as undeliverable or is otherwise unclaimed, no
         further distributions shall be made to such Holder unless and until the Reorganized Debtors or the Disbursing
         Agent are notified in writing of such Holder’s then-current address or other necessary information for
         delivery. Subject to the succeeding sentence, the Reorganized Debtors or their duly appointed disbursing
         agent shall retain undeliverable distributions until such time as a distribution becomes deliverable. Each
         Holder of an Allowed Claim whose distribution remains (i) undeliverable for one hundred and eighty (180)
         days after the distribution is returned as undeliverable or (ii) otherwise has not been deposited, endorsed or
         negotiated within one hundred and eighty (180) days of the date of issuance shall have no claim to or interest
         in such distribution and shall be forever barred from receiving any distribution under the Plan. Nothing
         contained in this Plan shall require the Debtors, the Reorganized Debtors or the Disbursing Agent to attempt
         to locate any Holder of an Allowed Claim.

         (2)               Reversion. Any distribution under the Plan that is an Unclaimed Distribution for a period
         of one hundred and eighty (180) days after distribution shall be deemed unclaimed property under section
         347(b) of the Bankruptcy Code and such Unclaimed Distribution shall revest in Reorganized Maxcom. Upon
         such revesting, the Claim or Interest of any Holder or its successors with respect to such property shall be
         cancelled, discharged, and forever barred notwithstanding any applicable federal or state escheat, abandoned,
         or unclaimed property laws, or any provisions in any document governing the distribution that is an
         Unclaimed Distribution, to the contrary.

6.6      Setoffs

         Except as otherwise expressly provided herein, the Reorganized Debtors, pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the Holder
of a Claim, may set off against any Allowed Claim and the distributions to be made pursuant to the Plan on account
of such Allowed Claim (before any distribution is made on account of such Allowed Claim), any Claims, rights, and
Causes of Action of any nature that the Debtors or Reorganized Debtors, as applicable, may hold against the Holder

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of such Allowed Claim, to the extent such Claims, rights, or Causes of Action against such Holder have not been
otherwise compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or otherwise);
provided, however, that neither the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan
shall constitute a waiver or release by the Reorganized Debtors of any such Claims, rights, and Causes of Action that
the Reorganized Debtors may possess against such Holder. In no event shall any Holder of Claims be entitled to set
off any Claim against any Claim, right, or Cause of Action of the Debtors or Reorganized Debtors, as applicable,
unless such Holder has filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on
or before the Confirmation Date, and notwithstanding any indication in any Proof of Claim or otherwise that such
Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or otherwise. For the avoidance
of doubt, no Claim in Class A shall be subject to setoff.

6.7      Allocation Between Principal and Accrued Interest

          Except as otherwise provided in the Plan and to the extent permitted by applicable law, the aggregate
consideration paid to Holders with respect to their Allowed Claims shall be treated pursuant to the Plan for income
tax purposes as allocated first to the principal amount of such Allowed Claims (to the extent thereof) and, thereafter,
to the interest accrued through and including the Effective Date.

                                                   ARTICLE VII

                           PROCEDURES FOR RESOLVING DISPUTED CLAIMS

7.1      Disputed Claims

          In the event that the Debtors dispute a Claim, such Claim shall be Disputed unless Allowed or disallowed by
a Final Order or as otherwise set forth in this ARTICLE VII. Except as otherwise provided herein, all Proofs of Claim
filed after the Effective Date shall be expunged without the need for any objection by the Reorganized Debtors or any
further notice to or action, order, or approval of the Bankruptcy Court. On and after the Effective Date, the
Reorganized Debtor may settle any Claims for which a Proof of Claim has been filed or for which a Proof of Claim
has not been filed, without further notice to or approval of the Bankruptcy Court, the Claims and Solicitation Agent,
or any other party.

7.2      Resolution of Disputed Claims

          Except insofar as a Claim is Allowed under the Plan, the Debtors or the Reorganized Debtors, as applicable,
shall be entitled to object to the Claim. Any objections to Claims shall be served and filed on or before the 120th day
after the Effective Date or by such later date as ordered by the Bankruptcy Court. Notwithstanding any authority to
the contrary, an objection to a Claim shall be deemed properly served on the Holder thereof if service is effected in
any of the following manners: (a) in accordance with Rule 4 of the Federal Rules of Civil Procedure, as modified and
made applicable by Bankruptcy Rule 7004; or (b) by first class mail, postage prepaid, on any counsel that has appeared
on the Holder’s behalf in the Chapter 11 Cases. The Debtors and the Reorganized Debtors shall be authorized to, and
shall resolve all Disputed Claims or Interests by withdrawing or settling such objections thereto, or by litigating to
Final Order in the Bankruptcy Court the validity, nature and/or amount thereof. All Claims not objected to by the end
of such 120-day period shall be deemed Allowed unless such period is extended upon approval of the Bankruptcy
Court. For the avoidance of doubt, except as otherwise provided in the Plan, from and after the Effective Date, the
Reorganized Debtors shall have and retain any and all rights and defenses the Debtors had immediately prior to the
Effective Date with respect to any Disputed Claim, including the Causes of Action retained pursuant to Section 4.13.

7.3      Estimation of Claims

          The Debtors or the Reorganized Debtors, as applicable, may (but are not required to) at any time request that
the Bankruptcy Court estimate any Disputed Claim that is contingent or unliquidated in accordance with section 502(c)
of the Bankruptcy Code for any reason, regardless of whether any Entity previously has objected to such Claim or
Interest or whether the Bankruptcy Court has ruled on any such objection. If the Bankruptcy Court estimates any
contingent or unliquidated Claim or Interest, the estimated amount shall constitute a maximum limitation on such


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Claim or Interest for all purposes under the Plan (including for purposes of distributions), and the Reorganized Debtors
may elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim or Interest.

7.4      No Interest

          Unless otherwise expressly provided in the Plan or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is made
on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

7.5      No Distributions Pending Allowance

         Notwithstanding any other provision of this Plan to the contrary, no payments or distributions of any kind or
nature shall be made with respect to all or any portion of a Disputed Claim unless and until all objections to such
Disputed Claim have been settled or withdrawn or have been determined by Final Order and the Disputed Claim has
become an Allowed Claim. Distributions on account of Disputed Claims that become Allowed Claims shall be made
pursuant to Section 6.2.

7.6      Disallowance of Claims and Interests

          All Claims of any Entity from which property is sought by the Debtors under section 542, 543, 550, or 553
of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a transferee of a transfer that is
avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed
if: (a) the Entity, on the one hand, and the Debtors or the Reorganized Debtors, on the other hand, agree or the
Bankruptcy Court has determined by Final Order that such Entity or transferee is liable to turn over any property or
monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity or transferee has failed
to turn over such property by the date set forth in such agreement or Final Order.

                                                    ARTICLE VIII

                                 EFFECT OF CONFIRMATION OF THE PLAN

8.1      Compromise and Settlement of Claims, Interests, and Controversies

          Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration
for the distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good
faith compromise of all Claims and controversies relating to the contractual, legal, and subordination rights that a
Holder of a Claim may have with respect to any Allowed Claim or Allowed Interest or any distribution to be made on
account of such Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and controversies, as well
as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their
Estates, and Holders of Claims and Interests, and is fair, equitable, and reasonable. In accordance with the provisions
of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice
to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized Debtors may
compromise and settle Claims against them and Causes of Action against other Entities.

8.2      Discharge of Claims and Termination of Interests

         Except as otherwise provided for herein and effective as of the Effective Date: (a) the rights afforded
in the Plan and the treatment of all Claims and Interests shall be in exchange for and in complete satisfaction,
discharge, and release of all Claims and Interests of any nature whatsoever, including any interest accrued on
such Claims from and after the Petition Date, against the Debtors or any of their assets, property, or Estate;
(b) the Plan shall bind all Holders of Claims and Interests, notwithstanding whether any such Holders failed to
vote to accept or reject the Plan or voted to reject the Plan; (c) all Claims and Interests shall be satisfied,


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discharged, and released in full, and the Debtors’ liability with respect thereto shall be extinguished completely,
including any liability of the kind specified under section 502(g) of the Bankruptcy Code; and (d) all Entities
shall be precluded from asserting against the Debtors, the Debtors’ Estates, the Reorganized Debtors, their
successors and assigns, and their assets and properties any other Claims or Interests based upon any
documents, instruments, or any act or omission, transaction, or other activity of any kind or nature that
occurred prior to the Effective Date.

8.3     Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise expressly provided
herein, for good and valuable consideration, as of the Effective Date, to the extent permitted by applicable laws,
the Released Parties are conclusively, absolutely, unconditionally, irrevocably, and forever deemed released
and discharged by each Debtor, each Reorganized Debtor, and each such Debtor’s Estate from any and all
actions, Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
whatsoever, whether far tort, contract, violations of federal or state securities laws and Avoidance Actions,
including any derivative Claims, asserted on behalf of each Debtor, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, asserted or that could possibly have
been asserted on behalf of each Debtor, that each Debtor, each Reorganized Debtor, or each such Debtor’s
Estate, would have been legally entitled to assert in their own right (whether individually or collectively) or on
behalf of the Holder of any Claim or Interest or other Entity, based on or relating to, or in any manner arising
from, in whole or in part, the Debtors, the Chapter 11 Cases, the Old Notes, the Old Notes Indenture, the Old
Notes Guarantees, the Subsidiary Guarantee, the Intercompany Trust Agreement, the Intercompany
Subordination Agreement, the purchase, sale, or rescission of the purchase or sale of any security of the Debtors
or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between the Debtors and any
Released Party, the restructuring of Claims and Interests prior to or in the Chapter 11 Cases, the negotiation,
formulation, solicitation, or preparation of the Disclosure Statement, the Plan, the Plan Supplement, or related
agreements, instruments or other documents, based in whole or in part upon any act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date; provided, however, that the
foregoing provisions of this Section 8.3 shall have no effect on the liability of any of the Released Parties for
gross negligence, willful misconduct, fraud, or criminal conduct as determined by a Final Order entered by a
court of competent jurisdiction; provided further that nothing in this Section 8.3 shall release any post-Effective
Date obligations of any party under the Plan or any document, instrument, or agreement executed to
implement, or otherwise given effect under, the Plan, including the Senior Notes and Junior PIK Notes and any
other agreement or document related thereto or entered into in connection therewith, as applicable.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section 8.3, which includes by reference each of the
related provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that such release is: (a) in exchange for the good and valuable consideration provided by the Released
Parties; (b) a good faith settlement and compromise of the Claims released by this Section 8.3: (c) in the best
interests of the Debtors and all Holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given
and made after due notice and opportunity for hearing; and (f) a bar to the Debtors asserting any Claim or
Cause of Action released by this Section 8.3.

8.4     Releases by the Releasing Parties

         As of the Effective Date, to the extent permitted by applicable law, each Releasing Party shall be
deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever, released and discharged the
Debtors, the Reorganized Debtors, the Estates, the Released Parties and each such Entity’s successors and
assigns, current and former affiliates, subsidiaries, officers, directors, members, principals, employees, agents,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives, and other
Professionals, solely in their respective capacities as such, and only if such Persons occupied any such positions
at any time on or after the Petition Date, from any and all Claims, Interests, obligations, rights, liabilities,
actions, causes of action, choses in action, suits, debts, demands, damages, dues, sums of money, accounts,
reckonings, bonds, bills, specialties, covenants, contracts, controversies, agreements, promises, variances,

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trespasses, judgments, remedies, rights of set-off, third-party claims, subrogation claims, contribution claims,
reimbursement claims, indemnity claims, counterclaims, and crossclaims (including all claims and actions
against any Entities under the Bankruptcy Code) whatsoever, whether for tort, contract, violations of federal
or state securities laws and Avoidance Actions, including any derivative Claims, asserted on behalf of the
Debtors, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, that such Entity asserted or that could possibly have been asserted, or would have been legally
entitled to assert (whether individually or collectively), based on or in any way relating to, or in any manner
arising from, in whole or in part, the Debtors, the Chapter 11 Cases, the Old Notes, the Old Notes Indenture,
the Old Notes Guarantees, the Subsidiary Guarantee, the Intercompany Trust Agreement, the Intercompany
Subordination Agreement, the purchase, sale, or rescission of the purchase or sale of any security of the Debtors
or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between the Debtors and any
Releasing Party, the restructuring of Claims and Interests prior to or in the Chapter 11 Cases, the negotiation,
formulation, solicitation, or preparation of the Disclosure Statement, the Plan, the Plan Supplement, or related
agreements, instruments or other documents, based in whole or in part upon any act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date; provided, however, that the
foregoing provisions of this Section 8.4 shall have no effect on the liability of any of the Released Parties for
gross negligence, willful misconduct, fraud, or criminal conduct as determined by a Final Order entered by a
court of competent jurisdiction; provided further that nothing in this Section 8.4 shall release any post-Effective
Date obligations of any party under the Plan or any document, instrument, or agreement executed to
implement, or otherwise given effect under, the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section 8.4, which includes by reference each of the related
provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that
such release is: (a) important to the Plan; (b) in exchange for the good and valuable consideration provided by
the Debtors, the Reorganized Debtors, the Estates and the Released Parties; (b) a good faith settlement and
compromise of the Claims released by this Section 8.4; (c) in the best interests of the Debtors and all Holders
of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and opportunity
for hearing; and (f) a bar to any Entity granting a release under this Section 8.4 from asserting any Claim or
Cause of Action released by this Section 8.4.

8.5     Exculpation

          No Exculpated Party shall have or incur, and each Exculpated Party is hereby released and exculpated
from any Exculpated Claim or any obligation, Cause of Action, or liability for any Exculpated Claim; provided,
however, that the foregoing “exculpation” shall have no effect on the liability of any Entity that results from
any such act or omission that is determined in a Final Order to have constituted fraud, gross negligence, or
willful misconduct; provided, further, that in all respects such Entities shall be entitled to reasonably rely upon
the advice of counsel with respect to their duties and responsibilities pursuant to, or in connection with, the
Plan. The Exculpated Parties have, and upon Confirmation shall be deemed to have, participated in good faith
and in compliance with the applicable provisions of the Bankruptcy Code with regard to the solicitation of
acceptances and rejections of the Plan and the making of distributions pursuant to the Plan and, therefore, are
not and shall not be liable at any time for the violation of any applicable, law, rule, or regulation governing the
solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

8.6     Injunction

        Except as otherwise provided herein or for obligations issued pursuant hereto, all Entities that have
held, hold, or may hold Claims or Interests that have been released pursuant to Section 8.3 or Section 8.4,
discharged pursuant to Section 8.2, or are subject to exculpation pursuant to Section 8.5 are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, the Released Parties, or the Exculpated Parties: (a) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests; (b) enforcing, attaching, collecting, or recovering by any manner
or means any judgment, award, decree, or order against such Entities on account of or in connection with or

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with respect to any such Claims or Interests; (c) creating, perfecting, or enforcing any encumbrance of any
kind against such Entities or the property or Estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (d) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property or Estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests unless such Holder has filed a
motion requesting the right to perform such setoff on or before the Confirmation Date; and (e) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests released, exculpated, or settled pursuant to the Plan.

8.7      Protection Against Discriminatory Treatment

         In accordance with section 525 of the Bankruptcy Code, and consistent with paragraph 2 of Article VI of the
United States Constitution, no Governmental Unit shall discriminate against the Reorganized Debtors, or any Entity
with which the Reorganized Debtors have been or are associated, solely because the Reorganized Debtors were a
debtor under chapter 11, may have been insolvent before the commencement of the Chapter 11 Cases (or during the
Chapter 11 Cases but before the Debtors were granted or denied a discharge), or have not paid a debt that is
dischargeable in the Chapter 11 Cases.

8.8      Recoupment

         In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or Interest against any
Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually
has performed such recoupment and provided notice thereof in writing to the Debtors on or before the Confirmation
Date, notwithstanding any indication in any Proof of Claim or Interest or otherwise that such Holder asserts, has, or
intends to preserve any right of recoupment.

8.9      Release of Liens

          Except as other provided in the Plan or in any contract, instrument, release, or other agreement or document
created pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made pursuant
to the Plan, and except with respect to the Liens securing Other Secured Claims or Secured Tax Claims (depending
on the treatment of such Claims), all mortgages, deeds of trust, Liens, pledges, or other security interests relating to
or arising from the Old Notes shall be fully released and discharged simultaneously with the execution of the Collateral
Documents in connection with the execution of the Senior Notes Indenture and issuance of the Senior Notes as
contemplated by Section 4.4 hereof, and all of the right, title, and interest of any holder of such mortgages, deeds of
trust, Liens, pledges, or other security interests shall vest and revert to the Reorganized Maxcom and its successors
and assigns once the Senior Notes Collateral Documents are fully executed and the security interests created thereby
are valid and perfected. In addition, the Trustee shall execute and deliver all documents to evidence the release of
mortgages, deeds of trust, Liens, pledges, and other security interests related to the Old Notes and shall authorize
Reorganized Maxcom to file UCC-3 termination statements or their equivalent (to the extent applicable) with respect
thereto.

8.10     Reimbursement or Contribution

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to section
502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
Claim shall be forever disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Effective
Date (a) such Claim has been adjudicated as noncontingent or (b) the relevant Holder of a Claim has filed a
noncontingent Proof of Claim on account of such Claim and a Final Order has been entered determining such Claim
as no longer contingent.




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                                                     ARTICLE IX

                           CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

9.1      Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to Section 9.2 of the Plan:

          (a)     the Confirmation Order shall have been entered and become a Final Order, and such Final Order
shall not have been stayed, modified, or vacated on appeal;

         (b)     simultaneously with the Effective Date, (i) the Shareholder Contribution Amount, if any, shall have
been consummated and (ii) the Early Participation Consideration, if any, shall have been paid to the Reorganized
Debtors in accordance with the terms of the Plan;

         (c)      no Governmental Authority shall have issued any ruling or order enjoining the consummation of the
Plan in a way that cannot be reasonably remedied by the Debtors or the Reorganized Debtors;

         (d)      all necessary consents, approvals and actions of, filings with and notices to any governmental or
regulatory authority necessary to permit the Debtors to consummate the Plan shall have been duly obtained, made or
given and shall be in full force and effect, and all terminations or expirations of waiting periods imposed by any
governmental or regulatory authority necessary for the consummation of the Plan shall have occurred; and

          (e)      this Plan and all documents and agreements necessary to implement the Plan, including the New
Corporate Governance Documents, the Senior Notes Collateral Documents and any other agreement or document
related to the foregoing or entered into in connection therewith (including documents effectuating affiliate guaranties
or asset pledges), shall have: (i) all conditions precedent to such documents and agreements satisfied or waived
pursuant to the terms of such documents or agreements; (ii) been tendered for delivery to the required parties and, to
the extent required, filed with and approved by any applicable Governmental Units in accordance with applicable
laws; and (iii) been effected or executed.

9.2      Waiver of Conditions Precedent

         The Debtors may amend, modify, supplement or waive any of the conditions to the Effective Date set forth
in Section 9.1 at any time without any notice to any other parties in interest and without any further notice to or action,
order, or approval of the Bankruptcy Court, and without any formal action other than proceeding to confirm or
consummate the Plan.

9.3      Effect of Non-Occurrence of Conditions to Consummation

         If prior to Consummation, the Confirmation Order is vacated pursuant to a Final Order, then except as
provided in any order of the Bankruptcy Court vacating the Confirmation Order, the Plan will be null and void in all
respects, and nothing contained in the Plan or Disclosure Statement shall: (a) constitute a waiver or release of any
Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtors or any other Entity; or
(c) constitute an admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                                                      ARTICLE X

                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

10.1     Modification of Plan

        Effective as of the date hereof: (a) the Debtors, in accordance with the Bankruptcy Code and the Bankruptcy
Rules, may amend or modify the Plan before the entry of the Confirmation Order; and (b) after the entry of the


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Confirmation Order, the Debtors or the Reorganized Debtors, as applicable, may, upon order of the Bankruptcy Court,
amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy Code, remedy any defect or omission,
or reconcile any inconsistency in the Plan in such manner as may be necessary to carry out the purpose and intent of
the Plan, subject to the limitations set forth herein.

10.2     Revocation or Withdrawal of Plan

          The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date and to file
subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan, or if Confirmation or the Effective Date
does not occur, then: (a) the Plan will be null and void in all respects; (b) any allowance of a Claim or any other
settlement or compromise embodied in the Plan, and any document or agreement executed pursuant hereto will be
null and void in all respects; and (c) nothing contained in the Plan shall (1) constitute a waiver or release of any Claims,
Interests, or Causes of Action, (2) prejudice in any manner the rights of the Debtors or any other Entity, or (3) constitute
an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any other Entity.

                                                      ARTICLE XI

                                         RETENTION OF JURISDICTION

11.1     Jurisdiction

         Pursuant to sections 105(a) and 1142 of the Bankruptcy Code and notwithstanding the entry of the
Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under and/or related to the Chapter 11 Cases and the Plan to the fullest extent permitted by
applicable law, including jurisdiction to:

          (a)       allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any Claim
or Interest and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims or Interests;

         (b)       decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
Bankruptcy Code or the Plan;

         (c)       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of the Plan;

        (d)      adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving the Debtors that may be pending on the Effective
Date;

         (e)     enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan or the Confirmation Order, including contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan, the Plan Supplement or the
Disclosure Statement;

        (f)        issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

          (g)      hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of Action
in connection with or in any way related to the Chapter 11 Cases, including: (a) with respect to the repayment or return
of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts not
timely repaid pursuant to Section 6.5(a); (b) with respect to the releases, injunctions, and other provisions contained
in ARTICLE VIII, including entry of such orders as may be necessary or appropriate to implement such releases,


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injunctions, and other provisions; (c) that may arise in connection with the Consummation, interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, or any Entity’s rights arising from or
obligations incurred in connection with the Plan or the Confirmation Order, including those arising under agreements,
documents, or instruments executed in connection with the Plan; (d) related to section 1141 of the Bankruptcy Code;
or (e) with respect to any Claims arising under or in connection with the Old Notes asserted by any current or former
Holder of Old Notes against the Reorganized Debtors and Non-Debtor Guarantors;

         (h)     enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

         (i)      consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        (j)       determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, or the Confirmation Order;

         (k)      hear and determine matters concerning U.S. state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         (l)      enter an order or Final Decree concluding or closing the Chapter 11 Cases;

         (m)      adjudicate any and all disputes arising from or relating to distributions under the Plan;

         (n)      hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in connection with and under the Plan, including under
Article VIII;

         (o)      enforce all orders previously entered by the Bankruptcy Court; and

         (p)      hear any other matter not inconsistent with the Bankruptcy Code.

                                                   ARTICLE XII

                                        MISCELLANEOUS PROVISIONS

12.1     Additional Documents

          On or before the Effective Date, the Debtors may file with the Bankruptcy Court such agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan.
The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims and Interests receiving distributions
pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions and
intent of the Plan.

12.2     Reservation of Rights

          Except as expressly set forth herein, the Plan shall have no force or effect unless the Bankruptcy Court shall
enter the Confirmation Order. None of the filing of the Plan, any statement or provision contained in the Plan, or the
taking of any action by the Debtors with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall
be or shall be deemed to be an admission or waiver of any rights of the Debtors with respect to the Holders of Claims
or Interests prior to the Effective Date.




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12.3     Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, affiliate, officer, director, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.

12.4     Service of Documents

         After the Effective Date, any pleading, notice, or other document required by the Plan to be served on or
delivered to the Reorganized Debtors shall be served on:

 Reorganized Debtors:                           Maxcom Telecomunicaciones S.A.B. de
                                                C.V.
                                                Av. Guillermo González Camarena 2000
                                                Col. Santa Fe Centro Ciudad de México
                                                CP 01376, Del. Álvaro Obregón
                                                Attn:    Erik Gonzalez, Chief Financial
                                                Officer



 Counsel to Reorganized Debtors:                Paul Hastings LLP
                                                200 Park Avenue
                                                New York, New York 10166
                                                Attn:   Pedro A. Jimenez, Esq.



12.5     Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
in the Chapter 11 Cases (pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court) and existing on the Confirmation Date (excluding any injunctions or stays contained in the
Plan or the Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions
or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in accordance
with their terms.

12.6     Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

12.7     Plan Supplement Exhibits

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are filed, copies of such exhibits and documents
shall be made available upon written request to the Debtors’ counsel at the address above or by downloading such
exhibits and documents from the Bankruptcy Court’s website at www.nysb.uscourts.gov. Unless otherwise ordered
by the Bankruptcy Court, to the extent any exhibit or document in the Plan Supplement is inconsistent with the terms
of any part of the Plan that does not constitute the Plan Supplement, such part of the Plan that does not constitute the
Plan Supplement shall control.




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12.8     Non-Severability

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified without the
consent of the Reorganized Debtors; and (c) nonseverable and mutually dependent.

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Dated: August 26, 2019

                                         Respectfully Submitted,



                                         MAXCOM TELECOMUNICACIONES S.A.B. de C.V.,
                                         on behalf of itself and each of the other Debtors



                                         __________________________________________
                                         Name: Erik Gonzalez
                                         Title: Chief Financial Officer
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                                                  EXHIBIT A

                                      NON-DEBTOR GUARANTORS



Outsourcing Operadora de Personal, S.A. de C.V.
TECBTC Estrategias de Promocion, S.A. de C.V.
Maxcom SF, S.A. de C.V.
Maxcom TV, S.A. de C.V.
Telereunion, S.A. de C.V.
Telscape de Mexico, S.A. de C.V.
Sierra Comunicaciones Globales, S.A. de C.V.
Asesores Telcoop, S.A. de C.V.
Celmax Movil, S.A. de C.V.
Maxcom USA, Inc.
Sierra USA Communications, Inc.
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                                    EXHIBIT B

                            LIST OF BANK ACCOUNTS
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                                                                         Bank Accounts

No.   Debtor            Bank Name                   Description                       Acct No.   Currency       Status
1     Maxcom Parent     Citibanamex                 Collection Account                x 4955     Pesos          Active
2     Maxcom Parent     Citibanamex                 Collection Account                x 4963     Pesos          Active
3     Maxcom Parent     Citibanamex                 Collection Account                x 8771     Pesos          Active
4     Maxcom Parent     BBVA Bancomer               Collection Account                x 9809     Pesos          Active
5     Maxcom Parent     BBVA Bancomer               Collection Account                x 9817     Pesos          Active
6     Maxcom Parent     HSBC                        Collection Account                x 5848     Pesos          Active
7     Maxcom Parent     HSBC                        Collection Account                x 2034     Pesos          Active
8     Maxcom Parent     Santander                   Collection Account                x 8477     Pesos          Active
9     Maxcom Parent     Santander                   Collection Account                x 7860     Pesos          Active
10    Maxcom Parent     Banorte                     Collection Account                x 4556     Pesos          Active
11    Maxcom Parent     Banorte                     Collection Account                x 2669     Pesos          Active
12    Maxcom Parent     Bank of America             Disbursement Account              x 8013     Pesos          Active
13    Maxcom Parent     Santander                   Concentration Account             x 8463     Pesos          Active
14    Maxcom Parent     Bank of America             Dual                              x 7058     U.S. Dollars   Active
15    Maxcom Parent     Banorte                                                       x 4051     U.S. Dollars   Inactive
16    Maxcom Parent     Santander                                                     x 0937     U.S. Dollars   Inactive
17    Maxcom Parent     Banorte                     Investment Account                x 4438     Pesos          Active
18    Maxcom Parent     Global Financial Services   Investment Account                x 0402     U.S. Dollars   Inactive
19    Maxcom Parent     BBVA Bancomer               Restricted Account                x 5430     Pesos          Active     Debtors have no control over this account.
20    Maxcom Parent     CI Banco                    Restricted Account                x 9344     U.S. Dollars   Active     Holds proceeds from sale of assets.
21    Maxcom Parent     CI Banco                                                      x 8079     Pesos          Inactive
22    Maxcom Parent     HSBC                        Investment Account                x 4882     U.S. Dollars   Active
23    Maxcom Parent     BCP Securities LLC          Investment Account                x 6038     U.S. Dollars   Inactive   Created solely to repurchase Old Notes.
